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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JANE DOE,                              §
Plaintiff,                             §
                                       §      CIVIL NO. 4:17-cv-1957
                                       §
      v.                               §
                                       §
PRARIE VIEW A&M UNIVERSITY,            §      JURY TRIAL DEMANDED
Defendant.                             §


                   PLAINTIFF JANE DOE’S RESPONSE TO
  DEFENDANT PRARIE VIEW A&M UNIVERSITY’S RULE 12(B) MOTIONS TO DISMISS

                                      EXHIBIT 2
_______________________________________________________________________________
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     Neutral
As of: October 27, 2017 10:35 PM Z


                                            Fox v. Pittsburg State Univ.
                                     United States District Court for the District of Kansas
                                         June 26, 2017, Decided; June 26, 2017, Filed
                                                    Case No. 14-CV-2606-JAR



Reporter
2017 U.S. Dist. LEXIS 97883 *; 2017 WL 2734608

MARTHA FOX, Plaintiff, v. PITTSBURG STATE
UNIVERSITY, Defendant.
                                                                      MEMORANDUM AND ORDER
Prior History: Fox v. Pittsburg State Univ., 2015 U.S.                A jury rendered a verdict in favor of Plaintiff Martha Fox
Dist. LEXIS 158491 (D. Kan., Nov. 24, 2015)                           on claims for damages arising under Title VII and Title IX
                                                                      against Defendant Pittsburg State University ("PSU"),
Core Terms                                                            and the Court entered judgment on the verdict. The
                                                                      parties have now filed post-trial motions.1 The motions
harassment, sexual harassment, sexual, argues,                        are fully briefed and the Court is prepared to rule. For the
severe, damages, allegations, employment                              reasons explained more fully below, the Court denies
discrimination, pervasive, jury instructions, actual notice,          Defendant's Motion for Renewed Judgment as a Matter
comments, displace, recording, sex, employees, notice,                of Law as to the Title IX Claim (Doc. 207) and denies
cases, hostile work environment, sufficient evidence,                 Defendant's Motion for Renewed Judgment as a Matter
appropriate person, education program, matter of law,                 of Law as to the Title VII Claim (Doc. 209). The Court also
remedies, Viewing, light most favorable, retaliation                  denies Defendant PSU's Motion For New Trial or in the
claim, custodial, purposes, campus                                    Alternative for Remittitur (Doc. 214).

Counsel: [*1] For Martha Fox, Plaintiff: Amy P.                       Notably, Defendant improperly filed separate motions for
Maloney, Matthew J. O'Laughlin, LEAD ATTORNEYS,                       judgment as a matter of law as to each claim, effectively
Maloney O'Laughlin, Kansas City, MO.                                  circumventing the page limitations. [*2] It is not in
For Pittsburg State University, Defendant: M. J.                      compliance with the Federal Rules of Civil Procedure or
Willoughby, Whitney L. Casement, LEAD ATTORNEYS,                      the local rules, which contemplate one filing for all
Office of Attorney General - Kansas, Topeka, KS.                      claims.2 Defendant should have filed one motion for
                                                                      judgment as a matter of law as to both claims and
Judges: JULIE A. ROBINSON, UNITED STATES                              requested leave to extend the page limitation if
DISTRICT JUDGE.                                                       necessary. The Court deliberated about whether to strike
                                                                      the motions, but ultimately decided to consider both.
Opinion by: JULIE A. ROBINSON                                         Defendant was represented by experienced counsel, Ms.
                                                                      Casement and Ms. Willoughby, who undoubtedly knew
Opinion                                                               this was a violation of the local rule and that it would
                                                                      create an excessive amount of work for Plaintiff's counsel


1 TheCourt will consider Plaintiff's motion for attorneys' fees and   2 See Fed. R. Civ. P. 50(b) (referring to motion in the singular
expenses (Doc. 211) in a separate order.
                                                                      throughout the rule); D. Kan. R. 7.1(e) (requiring briefing to not
                                                                      exceed 30 pages without leave of the Court).
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as well as this Court. In fact, Defendant has single-               the Title VII and Title IX retaliation claims. The case
handedly multiplied the briefing, advanced an inordinate            proceeded [*4] to a jury trial on October 3, 2016 on the
number of arguments, many of which are without merit,               remaining claims. The jury returned a verdict in favor of
and seeded its briefing with vexatious, inappropriate,              Plaintiff on both claims, awarding damages of $100,000
uncivil and unprofessional language, as will be detailed            on the Title IX claim, and $130,000 on the Title VII claim.
in the Court's order on Plaintiff's attorney fees and               The Court denied Defendant's oral and written motions
expenses. None of Defendant's tactics is well received by           under Federal Rule of Civil Procedure 50(a) for judgment
the Court.                                                          as a matter of law,3 and entered judgment on the verdict
                                                                    in favor of Plaintiff and against Defendant.4

I. Background
                                                                    II. Motion for Judgment as a Matter of Law
This matter arose out of Plaintiff's employment as a
custodian at PSU between July 2010 and November
2015. Plaintiff contends that she was subjected to sexual           A. Standard
harassment from April 2012 [*3] to March 2014 by
Custodial Supervisor Jana Giles and custodian Cathy                 A district court may grant a motion for judgment as a
Butler Brown. Plaintiff complained to members of the                matter of law under Rule 50 if it "finds that a reasonable
custodial management, including Wanda Endicott and                  jury would not have a legally sufficient evidentiary basis
Kevin Malle, but nothing was done to stop or deter the              to find for the party on [the] issue."5 The standard is met
conduct.                                                            only when "the proof is all one way or so overwhelmingly
                                                                    preponderant in favor of the movant as to permit no other
In February 2014, Plaintiff complained about the ongoing
                                                                    rational conclusion."6 In determining whether judgment
sexual harassment to Cindy Johnson, PSU's Director of
                                                                    as a matter of law is proper, a court may not weigh the
Equal Opportunity and Affirmative Action. Plaintiff alleges
                                                                    evidence, consider the credibility of witnesses, or
Defendant failed to properly investigate the complaints in
                                                                    substitute its judgment for that of the jury.7 In other words,
that Johnson refused to interview witnesses. Johnson
                                                                    the Court must affirm a jury verdict if, viewing the record
told Plaintiff that she would not investigate Plaintiff's
                                                                    in the light most favorable to the nonmovant, the record
complaints because Johnson feared it would start a
                                                                    contains evidence upon which the jury could properly
"firestorm." Plaintiff alleges that she did not receive
                                                                    return a verdict for the [*5] nonmovant.8 Judgment as a
sexual harassment training until after the alleged
                                                                    matter of law is appropriate "[i]f there is no legally
harassment took place. Plaintiff also alleges she suffered
                                                                    sufficient evidentiary basis . . . with respect to a claim or
emotional distress damages as a result of the sexual
                                                                    defense . . . under the controlling law."9
harassment she endured.

Defendant filed a motion for summary judgment on the
Title IX and Title VII sexual harassment and retaliation            B. Discussion
claims. The Court denied summary judgment on the Title
                                                                    The Court addresses the motions for judgment on the
IX and Title VII hostile work environment sexual
                                                                    Title IX and Title VII claims separately, as the parties
harassment claims, but granted summary judgment on
                                                                    have done in the briefing.


3 Doc.
                                                                    Cir. 2006).
         196.
4 Doc.                                                              8 See
         197.                                                             Bartee v. Michelin N. Am., Inc., 374 F.3d 906, 914 (10th
                                                                    Cir. 2004).
5 Fed.   R. Civ. P. 50(a).
                                                                    9 Batyv. Willamette Indus., Inc., 172 F.3d 1232, 1241 (10th Cir.
6 Crumpacker  v. Kan. Dep't of Human Res., 474 F.3d 747, 751        1999) (quoting Harolds Stores, Inc. v. Dillard Dep't Stores, 82
(10th Cir. 2007).                                                   F.3d 1533, 1546-47 (10th Cir. 1996)).

7 See    Sims v. Great Am. Life Ins. Co., 469 F.3d 870, 891 (10th
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                                                                      been waived because it was not raised in the Rule 50(a)
1. Title IX Claim                                                     motion made at trial. Although inartfully drafted, the Court
                                                                      believes that Defendant's response is that this is
Defendant moves for judgment as a matter of law on the                "jurisdictional" in nature, so it cannot be waived and may
Title IX claim for four reasons—(1) Plaintiff does not have           be raised at any time. The general rule is that "[a] party
a private right of action under Title IX as a custodian; (2)          may not circumvent Rule 50(a) by raising for the first time
Defendant is immune from Plaintiff's Title IX claim; (3)              in a post-trial motion issues not raised in an earlier
Plaintiff failed to meet the standard for damages under               motion" for judgment as a matter of law.11 However,
Title IX; and (4) Plaintiff provided insufficient evidence of         under Federal Rule of Civil Procedure 12(h)(3), a party
actual notice to the proper authority. Inexplicably,                  may raise a challenge to subject matter jurisdiction at any
Defendant did not raise the first two grounds in its                  time. Given the complete lack of authority and the novelty
summary judgment motion, but argues that because                      of this issue, the Court will assume without deciding that
these are jurisdictional issues, they can be raised at any            "preemption" is "jurisdictional" and may be raised for the
time. Each argument will be addressed in turn.                        first time [*7] in a Rule 50(b) motion.


a. Private Right of Action                                            ii. Title VII Displacing Relief Under Title IX

Plaintiff invoked both Title VII and Title IX at trial to seek        The Court finds that even if Defendant's argument that
relief for the hostile work environment sexual harassment             Title VII displaces Title IX has not been waived, it is
she faced based on her sex. Defendant argues that Title               without merit. The issue of whether Title VII displaces
IX does not grant a private right [*6] of action to a                 relief under Title IX to recover damages for employment
custodial employee. This argument is twofold. First,                  discrimination is unsettled.12 The parties do not cite nor
Defendant argues that Title IX is "preempted" in the                  is the Court aware of Tenth Circuit precedent addressing
context of employee-on-employee sexual harassment by                  whether Title VII displaces Title IX in the employment
Title VII.10 Second, even if Title VII does not displace              discrimination context. But there is a split of authority
relief under Title IX, there is no implied private right of           among other circuits that have addressed the issue of
action for employee-on-employee sexual harassment                     whether a Title VII claim displaces relief under Title IX. As
where, as here, the employee does not have any relation               explained in more detail below, this Court finds more
to an educational program or activity.                                persuasive the reasoning of those circuit courts that have
                                                                      held that Title VII does not displace Title IX.

i. Waiver                                                             There are six Supreme Court decisions guiding this
                                                                      Court's conclusion that Title VII does not displace Title
As to the "preemption" argument, Plaintiff argues this has            IX.13 Most relevant to this case, in Jackson v.

                                                                      against any individual with respect to his compensation, terms,
10 As the Third Circuit recognized, preemption is a doctrine that     conditions, or privileges of employment, because of such
normally relates to the relationship between state and federal        individual's race, color, religion, sex, or national origin." 42
law. See Kazar v. Slippery Rock Univ. of Pa., No 16-2161, 2017        U.S.C. § 2000e-2 (1998).
U.S. App. LEXIS 2581, 2017 WL 587984, at *5 n.5 (3d Cir. Feb.
14, 2017). Preemption, therefore, is not the proper term to           Title IX was passed to address the growing problem of sex
describe the relationship between Title VII and Title IX, which       discrimination in educational programs. See 118 Cong. Rec.
are both federal law. Rather, the issue is whether these federal      5804-15 (1972); H.R. Rep. No. 554, 92d Cong., 1st Sess. 1-3
laws displace each other. The Court will refer to this theory as      (1972). Title IX provides that "[n]o person in the United States
displacement throughout the order for purposes of clarity.            shall, on the basis of sex, be excluded from participation in, be
                                                                      denied the benefits of, or be subjected to discrimination under
11 United
        Int'l Holdings, Inc. v. Wharf (Holdings) Ltd., 210 F.3d       any education program or activity receiving Federal financial
1207, 1228 (10th Cir. 2000); see Fed. R. Civ. P. 50(a)-(b).           assistance." 20 U.S.C. § 1681(a).
12 TitleVII makes it unlawful for an employer "to fail or refuse to   13 In
                                                                          Johnson v. Railway Express Agency, Inc., the Supreme
hire or to discharge any individual, or otherwise to discriminate
                                                                      Court explained a private-sector employee "clearly is not
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Birmingham Board of Education, a high school employee                 claims to proceed without satisfying Title [*9] VII's
was relieved of his coaching position when he                         exhaustion requirements would upset Congress's
complained of disparate treatment of the girls' basketball            remedial       scheme       for    redressing   employment
team.14 The Supreme Court recognized an employee's                    discrimination.17 In Lakoski, the plaintiff, a former
private right of action for retaliation [*8] under Title IX           professor denied tenure, argued that based on Cannon,
despite no express prohibition in the statute because if              North Haven, and Franklin, there was an implied right of
the funding recipient were "permitted to retaliate freely,"           action under Title IX for employment discrimination.18
"individuals" who witness sex discrimination would be                 The Fifth Circuit disagreed with this "jurisprudential
"loath to report it" and "all manner of Title IX violations           arithmetic," distinguishing Cannon and Franklin as
might go unremedied."15 Though not explicitly                         related to claims of prospective or current students, and
addressed, the Supreme Court did not indicate that Title              North Haven as unrelated to the validity Title VII.19 In
VII displaced relief under Title IX. Rather, the Supreme              reaching its conclusion, the Fifth Circuit observed that
Court recognized "Title VII is a vastly different statute," as        "Congress enacted Title IX only months after extending
it distinguished Title IX's "broadly written general                  Title VII to state and local governmental employees," and
prohibition on discrimination" with Title VII's "greater              remarked "[t]hat Congress intend[ing] to create a bypass
detail [with respect to] the conduct that constitutes                 of Title VII's administrative procedures so soon after its
discrimination."16                                                    extension to state and local employees is an
                                                                      extraordinary proposition."20 Thus, the Fifth Circuit
The circuits have split on whether Title VII is intended to           refused to do "violence to the congressionally mandated
displace Title IX for claims against schools in the                   procedures for Title VII," and held it was error to submit
employment discrimination context. In Lakoski v. James,               Plaintiff's Title IX claim to the jury.21 The Seventh Circuit
the Fifth Circuit held that Title VII displaces Title IX              has held similarly.22 But both opinions pre-dated
because allowing Title IX employment discrimination
                                                                      Jackson.

deprived of other remedies" and is not "limited to Title VII in       Public Schools, the Court held that money damages were
search for relief." 421 U.S. 454, 459, 95 S. Ct. 1716, 44 L. Ed.      available for a student-plaintiff filing an action for sexual
2d 295 (1975). By contrast, in Brown v. General Services              harassment under Title IX. 503 U.S. 60, 72-76, 112 S. Ct. 1028,
Administration, the Court recognized an amendment to Title VII        117 L. Ed. 2d 208 (1992) (resolving circuit split and
(42 U.S.C. § 2000e-16) that waived sovereign immunity for             "conclud[ing] that a damages remedy is available for an action
federal employees' access to relief from workplace                    brought to enforce Title IX").
discrimination was the "exclusive" remedy for federal
                                                                      14 544
employment discrimination claims. 425 U.S. 820, 829, 96 S. Ct.                  U.S. 167, 171, 125 S. Ct. 1497, 161 L. Ed. 2d 361 (2005).
1961, 48 L. Ed. 2d 402 (1976). Importantly, the Court noted that
                                                                      15 Id.
this was unlike Johnson because Johnson held only that Title                   at 180.
VII does not displace other remedies in private employment
                                                                      16 Id.
discrimination. Id. at 833. In Cannon v. University of Chicago,            at 175 (citing Gebser v. Lago Vista Indep. Sch. Dist., 524
the Supreme Court held that there was an implied private right        U.S. 274, 283-84, 286-87, 118 S. Ct. 1989, 141 L. Ed. 2d 277
of action for victims of sex discrimination by universities           (1998)).
receiving federal funding. 441 U.S. 677, 703-10, 99 S. Ct. 1946,
                                                                      17 66
60 L. Ed. 2d 560 (1979) (applying Title IX to applicant of medical             F.3d 751, 754 (5th Cir. 1995).
school that was rejected based on sex notwithstanding that Title
                                                                      18 Id.
IX does not "expressly authorize" a private right of action). In               at 754.
North Haven Board of Education v. Bell, the Supreme Court
                                                                      19 Id.
clarified that Title IX's prohibition of sex discrimination applied
not only to students, but also to "[e]mployees who directly
                                                                      20 Id.
participate in federal programs or who directly benefit from                   at 756.
federal grants, loans or contracts," thereby broadening the
                                                                      21 Id.
scope of Title IX to include employment discrimination. 456 U.S.               at 754.
512, 520, 102 S. Ct. 1912, 72 L. Ed. 2d 299 (1982). North Haven
                                                                      22 See
recognized Congress provided a "variety of remedies, at times                   Waid v. Merrill Area Pub. Sch., 91 F.3d 857, 862 (7th Cir.
overlapping, to eradicate" private-sector employment                  1996).
discrimination. Id. at 535 n.26. In Franklin v. Gwinnett County
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By contrast, the Fourth Circuit in Preston v.                        in their search for relief from workplace discrimination.29
Commonwealth of Virginia [*10] ex rel. New River                     Two, it is a matter of policy left for Congress's
Community College held that retaliatory employment                   constitutional purview [*11] whether an alternative
discrimination may be sought under Title IX and Title                avenue of relief from employment discrimination might
VII.23 The Fourth Circuit reasoned Title VII and its judicial        undesirably allow circumvention of Title VII's
interpretations provide a persuasive body of standards to            administrative requirements.30 Three, the provision
which courts may look in shaping contours of private                 implying Title IX's private cause of action, 20 U.S.C. §
rights of action under Title IX.24 Thus, the Fourth Circuit          1681(a), encompasses employees, not just students. 31
concluded that "[a]n implied private right of action exists          Four, Title IX's implied private cause of action extends to
for enforcement of Title IX . . . [which] extends to                 employees of federally funded education programs who
employment discrimination on the basis of gender by                  allege sex-based retaliation claims under Title IX, and no
educational institutions receiving federal funds." 25 The            subsequent decision of the Supreme Court has narrowed
Sixth Circuit and the First Circuit have held similarly.26           this principle.32 The Fourth Circuit declined to follow the
                                                                     Fifth and Sixth Circuit decisions because they "did not
In March 2017, in Doe v. Mercy Catholic Medical Center,              address the Supreme Court's decisions in Johnson and
the Third Circuit held that Title IX and Title VII had               Brown and the provisions of North Haven rejecting
concurrent applicability and that Title VII does not                 'policy'-based rationales" and "were decided a decade
displace Title IX employment discrimination claims.27                before the Supreme Court handed down Jackson, which
The Third Circuit looked to the six Supreme Court                    explicitly recognized an employee's private claim under
decisions discussed above to guide its decision. 28 From             Cannon."33 Thus, the plaintiff was entitled to relief under
these six decisions, it derived four guiding principles.             Title IX and Title VII.34
One, private-sector employees are not limited to Title VII



23 31                                                                29 Mercy
         F.3d 203, 207 (4th Cir. 1994).                                           Catholic Med. Ctr., 850 F.3d at 562.

24 Id.                                                               30 Id.



25 Id.                                                               31 Id.
         at 205-06.                                                            (citing N. Haven, 456 U.S. at 520; Cannon, 441 U.S. at
                                                                     694).
26 Ivan  v. Kent St. Univ., No. 94-4090, 1996 U.S. App. LEXIS
                                                                     32 Id.
22269, 1996 WL 422496, at *3 n. 10 (6th Cir. 1996) (overruling                at 562-63 (citing Jackson, 544 U.S. at 171).
district court conclusion that Title VII displaces an individual's
                                                                     33 Id.
private remedy under Title IX); accord Lipsett v. Univ. of Puerto
Rico, 864 F.2d 881, 896-97 (1st Cir. 1988).
                                                                     34 Id.;see also Kazar v. Slippery Rock Univ. of Pa., No 16-2161,
27 850 F.3d 545, 563 (3d Cir. 2017). The Court notes that this       2017 U.S. App. LEXIS 2581, 2017 WL 587984 (3d Cir. Feb. 14,
case involved a medical resident. Defendant, in briefing,            2017). The Third Circuit opinion assumed without deciding that
suggests that medical residents are students. However, the           Title IX may be used to bring an employment discrimination
Court still finds these cases as applicable in the employment        claim. However, Judge Shwartz wrote in concurrence to provide
discrimination context because the courts often consider the         an analysis of the Supreme Court precedent relevant to whether
medical residents as employees or employee-student mix.              Title VII displaces Title IX. 2017 U.S. App. LEXIS 2581, [WL] at
                                                                     *7-8 (Shwartz, J., concurring). Judge Shwartz noted first, the
28 Id.
     at 560 (citing Johnson v. Ry. Express Agency, Inc., 421         Supreme Court recognized in North Haven Board of Education
U.S. 454, 95 S. Ct. 1716, 44 L. Ed. 2d 295 (1975); Brown v.          v. Bell that Title IX covers employment discrimination, and in
Gen. Servs. Adm., 425 U.S. 820, 96 S. Ct. 1961, 48 L. Ed. 2d         Cannon v. Chicago, it recognized that there is a private right of
402 (1976); Cannon v. Univ. of Chi., 441 U.S. 677, 99 S. Ct.         action for employment discrimination. 456 U.S. 512, 525, 535-
1946, 60 L. Ed. 2d 560 (1979); N. Haven Bd. of Educ. v. Bell,        36, 102 S. Ct. 1912, 72 L. Ed. 2d 299 (1982); 441 U.S. 677,
456 U.S. 512, 102 S. Ct. 1912, 72 L. Ed. 2d 299 (1982); Franklin     696, 99 S. Ct. 1946, 60 L. Ed. 2d 560 (1979). Second, the
v. Gwinnett Cty. Pub. Sch., 503 U.S. 60, 112 S. Ct. 1028, 117        Supreme Court recognized in Johnson v. Railway Express
L. Ed. 2d 208 (1992); Jackson v. Birmingham Bd. of Educ., 544        Agency Inc. that Title VII was not the exclusive remedy for
U.S. 167, 125 S. Ct. 1497, 161 L. Ed. 2d 361 (2005)).                employment discrimination. 421 U.S. 454, 459, 95 S. Ct. 1716,
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This Court will follow the approach of the majority—the                 Further, while Title VII and Title IX are often called
First, Third, Fourth, and Sixth Circuits— that Title VII and            analogous or similar, the two statutes are not identical.
Title IX have concurrent [*12]             applicability in             The Court declines to infer any preference for recovery
employment discrimination claims.35 Reading the six                     under Title VII without a more definite expression from
Supreme Court cases outlined above together, this Court                 Congress38—for example, a provision in Title VII barring
is persuaded that there is a private right of action for                concurrent private Title IX claims. Accordingly, Title VII
employees of educational institutions receiving federal                 does not displace employment discrimination claims
funding under both Title VII and Title IX. If Congress                  pursuant to Title [*13] IX.
intended for Title VII to displace employment
discrimination claims under Title IX, it could have drafted             This Court is further persuaded that this is the approach
Title IX, which was enacted following Title VII, to state as            that would be taken by the Tenth Circuit given that the
much.36 Instead, Title IX broadly covers any "person," not              Tenth Circuit applies Title VII principles to Title IX
just students, alleging discrimination. The Supreme Court               employment discrimination actions.39 As the Tenth
has already rejected the argument that Title VII is the                 Circuit has noted, Title VII is "the most appropriate
exclusive remedy for employment discrimination actions,                 analogue when defining Title IX's substantive
so the argument that Title IX employment discrimination                 standards."40 In fact, as recently as June 2017, the Tenth
claims may circumvent the Title VII scheme is rejected.37               Circuit in Hiatt v. Colorado Seminary applied Title VII
                                                                        standards to hybrid Title VII and Title IX retaliation claims

44 L. Ed. 2d 295 (1975). Third, the Supreme Court has                   to Title VII eliminating an exemption for higher education
recognized that Title IX and Title VII are vastly different statutes.   employees from pursuing a Title VII claim. As the Supreme
Kazar, 2017 U.S. App. LEXIS 2581, 2017 WL 587984, at *7                 Court explained in 1990 in University of Pennsylvania v. EEOC,
(citing Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 175,          493 U.S. 182, 189-90, 110 S. Ct. 577, 107 L. Ed. 2d 571 (1990)
125 S. Ct. 1497, 161 L. Ed. 2d 361 (2005)) (noting the difference       (citations omitted), when Title VII was enacted originally in
in offenders, statute of limitations, remedies, and goals of the        1964, it exempted an "educational institution with respect to the
statutes). Fourth, because many circuits apply Title VII                employment of individuals to perform work connected with the
standards to Title XI cases, there is a recognized parity between       educational activities of such institution." Eight years later,
Title VII and Title IX. Id. Fifth, although the Supreme Court has       Congress eliminated that specific exemption by enacting § 3 of
held that Congress's enactment of a comprehensive scheme to             the Equal Employment Opportunity Act of 1972, 86 Stat. 103.
address a problem may demonstrate "congressional intent to              This extension of Title VII was Congress' considered response
preclude" seeking remedies via other statutes, that principle           to the widespread and compelling problem of invidious
was not applicable to Title IX because Title IX was enacted after       discrimination in educational institutions.
Title VII. 2017 U.S. App. LEXIS 2581, [WL] at *8. Thus, Judge
                                                                        37 See
Shwartz ultimately concluded that Title VII did not displace Title              Johnson v. Ry. Express Agency, Inc., 421 U.S. 454, 459,
IX for recovery in the employment discrimination context.               95 S. Ct. 1716, 44 L. Ed. 2d 295 (1975) ("Despite Title VII's
                                                                        range and its design as a comprehensive solution for the
35 Thisposition is also consistent with the holdings of a number        problem of invidious discrimination in employment, the
of recent district court cases. See, e.g., Winters v. Pa. St. Univ.,    aggrieved individual clearly is not deprived of other remedies he
172 F. Supp. 3d 756, 774-75 (M.D. Pa. 2016) (holding Title VII          possesses and is not limited to Title VII in his search for relief.
did not displace sex discrimination claim brought under Title IX        The legislative history of Title VII manifests a congressional
by male former university professor terminated following sexual         intent to allow an individual to pursue independently his rights
harassment investigation); Russell v. Nebo Sch. Dist., No. 16-          under both Title VII and other applicable state and federal
00273, 2016 U.S. Dist. LEXIS 108387, 2016 WL 4287542 (D.                statutes.") (citation omitted).
Utah Aug. 15, 2016) (concluding Title VII does not displace Title
                                                                        38 Mercy
IX in Title IX employment discrimination case alleging sexual                    Catholic Med. Ctr., 850 F.3d at 564 (citing Johnson,
harassment). Contra Uyar v. Seli, No. 16-186, 2017 U.S. Dist.           421 U.S. at 461).
LEXIS 30853, 2017 WL 886934, at *6 (D. Conn. Mar. 6, 2017)
                                                                        39 See
(holding Title VII was the plaintiff's exclusive remedy for sexual             Roberts v. Colo. St. Bd. of Agric., 998 F.2d 824, 832 (10th
harassment and dismissing Title IX claims following precedent           Cir. 1993); Mabry v. St. Bd. of Comm. Colls. & Occupational
in Urie v. Yale Univ., 331 F. Supp. 2d 94, 97-98 (D. Conn.              Educ., 813 F.2d 311, 316 n.6 (10th Cir. 1987).
2004)).
                                                                        40 Roberts,   998 F.2d at 832.
36 This   is only further propounded by subsequent amendments
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by a university faculty member.41                                Court noted that Congress had not adopted a proposal
                                                                 that would have prohibited "all discriminatory practices of
Nothing leads this Court to believe that Title VII is meant      an institution" receiving federal funds.44 Further, in 1984,
to be the "exclusive" remedy for employment                      in Grove City College v. Bell, the Supreme Court
discrimination. Further, nothing leads this Court to             interpreted Title IX's phrase "education program or
believe that Title VII is meant to displace Title IX, as the     activity" to only apply to the particular programs receiving
Tenth Circuit has recognized that these causes of action         federal funding.45
are "analogous," not identical. While the two statutes
address similar conduct, there are still differences,            In response to these holdings narrowing [*15] the scope
including "target[ing] different offenders, hav[ing] different   of Title IX protection, Congress enacted the Civil Rights
statutes of limitations, and provid[ing] some different          Restoration Act of 1987.46 The amendment sought to
remedies."42 By recognizing that Title VII standards apply       clarify §1681(a), which reads that "[n]o person in the
to Title IX employment claims, the Tenth Circuit has             United States shall, on the basis of sex, be excluded from
implicitly recognized that Title VII does not displace Title     participation in, be denied the benefits of, or be subjected
IX to [*14] address employment discrimination.                   to discrimination under any education program or activity
                                                                 receiving Federal financial assistance." The amendment
                                                                 to Title IX specified that the term "program" as used in §
iii. Nexus to Educational Programs or Activities for             1681 means "all of the operations of" the institution that
Title IX                                                         received federal funding, regardless of whether the
                                                                 specific program at issue benefitted from that funding. 47
The Court next addresses Defendant's alternative                 Indeed, the Senate Report addressing the Civil Rights
argument that Plaintiff must show her work has a "nexus"         Restoration Act of 1987 clarified that discrimination is
to education in order to qualify for Title IX's remedies.        "prohibited throughout entire agencies or institutions if
Defendant argues that this "nexus" is a requirement for
                                                                 any part receives Federal financial assistance,"48 and
employment discrimination actions following the 1987
                                                                 that "all of the operations of" an educational institution or
amendment to Title IX. The 1987 amendment to Title IX
                                                                 system would include, but is not limited to: "traditional
was in response to prior holdings of the Supreme Court
                                                                 educational operations, faculty and student housing,
limiting its reach to only programs that received federal
                                                                 campus shuttle bus service, campus restaurants, the
funding. In 1982, in North Haven, the Supreme Court held
                                                                 bookstore, and other commercial activities."49 Overall,
that Title IX's prohibition of sex discrimination of students
                                                                 the amendment's purpose was to reaffirm pre-Grove City
and employees, but only employees who directly
                                                                 College       judicial   and     executive [*16]      branch
participated in federal programs or directly benefitted
                                                                 interpretations and enforcement practices which provided
from federal grants, loans or contracts.43 The Supreme
                                                                 for "broad coverage" of the anti-discrimination provisions


                                                                 48 S.
41 F.3d , No. 16-1159, 2017 U.S. App. LEXIS 9774, 2017 WL             Rep. No. 100-64, at 6 (1987) (emphasis added). Defendant
2384732, at *6 n.8 (10th Cir. June 2, 2017).                     contends the legislative history is cited out of context. It goes on
                                                                 to offer a statement of Senator Bayh in 1972 during the
42 Kazar,    2017 U.S. App. LEXIS 2581, 2017 WL 587984, at *7.   congressional debates over the bill containing Title IX. 118
                                                                 Cong. Rec. 5803 (daily ed. Feb. 28, 1972). He stated "[m]ore
43 N.
    Haven Bd. of Educ. v. Bell, 456 U.S. 512, 520, 102 S. Ct.    specifically, the heart of this amendment is a provision banning
1912, 72 L. Ed. 2d 299 (1982).                                   sex discrimination in educational programs receiving Federal
                                                                 funds. The amendment would cover such crucial aspects as
44 Id.   at 537 (emphasis in original).                          admissions procedures, scholarships, and faculty employment,
                                                                 with limited exceptions." Id. (emphasis added). Defendant
45 465 U.S. 555, 574-75, 104 S. Ct. 1211, 79 L. Ed. 2d 516       emphasizes the word "faculty employment," yet fails to even
(1984).                                                          acknowledge the words "limited exceptions" immediately
                                                                 following. The Court finds this is not a limiting statement, but
46 Pub.    L. 100-259, 102 Stat. 28.                             rather provides examples of some of the things that Title IX was
                                                                 seeking to protect.
47 See    20 U.S.C. § 1687.
                                                                 49 S.   Rep. No. 100-64, at 17 (1987).
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of these civil rights statutes.50                                 amendment suggests that Congress intended to limit
                                                                  Title IX's scope to only certain members of the university
The Court rejects Defendant's argument that the 1987              or intended to require a "nexus" to educational programs
amendment to Title IX only decided the issue of whether           or activities. Rather, Congress intended for Title IX to
the institution as a whole is covered, and that a plaintiff       broadly cover the entirety of the institution, including
still needs to show that her work had a "nexus" to                "campus shuttle bus service, campus restaurants, the
educational programs or activities. Given Title IX's broad        bookstore, and other commercial activities."55 Indeed,
language, this position simply does not comport with the          the word "broad" is used 35 times in the legislative
plain language of the statute—"[n]o person in the United          history [*18] of the 1987 amendment alone.
States shall, on the basis of sex, be excluded from
participation in, be denied the benefits of, or be subjected      Defendant also relies upon Preyer v. Darmouth,56 a post
to discrimination under any education program or activity         1987 district court decision that entirely misreads the
receiving federal financial assistance."51 The Supreme            1987 amendment. In Preyer, the court held that a college
Court has read "no person" broadly; as North Haven puts           dining services employee could not maintain a sex
it so aptly,                                                      discrimination under Title IX,57 because "in order to give
                                                                  effect to the word 'education,' the prohibition against
     "[b]ecause § [1681(a)] neither expressly nor                 sexual discrimination in § 1681(a) applies only to those
     impliedly excludes employees from its reach, we              operations of a college or university that are educational
     should interpret the provision as covering and               in nature or bear some relation to the educational goal of
     protecting      these    'persons'      unless    other      the institution."58 But, the district court's interpretation of
     considerations counsel to the contrary. After all,           the word "education" to only involve operations that are
     Congress easily could have substituted 'student' or          educational in nature contravenes Congressional intent
     'beneficiary' for the word 'person' if it had wished to      that Title IX reach "traditional educational operations,
     restrict the scope of [*17] § [1681(a)]."52                  faculty and student housing, campus shuttle bus service,
Further, the requirement of a nexus to "education" is not         campus restaurants, the bookstore, and other
consistent with Title IX's broad purpose, which is "to avoid      commercial activities."59
the use of federal resources to support discriminatory
practices" and "provide individual citizens effective             The Court further rejects Defendant's suggestion that
protection against those practices."53 Particularly, with         Congress intended for Title IX to distinguish the janitorial
the first purpose in mind, this seems to be an institution-       staff as any less a part of the university or deserving of
wide objective that is not limited narrowly to university         protection than faculty. Defendant asks this Court to draw
educational initiatives, as these institutions as a whole         an arbitrary line that prohibits groundskeepers or
receive federal funding.                                          maintenance workers from asserting [*19] Title IX claims
                                                                  but allows professors or teachers. Defendant ignores the
Moreover, many of the cases Defendant cites for the               fact that there are hundreds of different types of
proposition that Plaintiff's work must relate to an               employees at a university or on a university campus, such
educational program or activity are no longer of continued        as bus drivers, cafeteria workers, librarians, childcare
validity in light of the 1987 amendment.54 Further,               workers, bookstore employees, docents at the university
nothing in the language or legislative history of the 1987


50 S.
                                                                  F. Supp. 867, 868 (D. Mass. 1985); Urie v. Yale University, 331
        Rep. No. 100-64, at 4 (1987).
                                                                  F. Supp. 2d 94, 97-98 (D. Conn. 2004).
51 20                                                             55 S.
        U.S.C. § 1681(a) (emphasis added).                                 Rep. No. 100-64, at 17 (1987).

52 N.                                                             56 968
    Haven Bd. of Educ. v. Bell, 456 U.S. 512, 521, 102 S. Ct.               F. Supp. 20, 25 (D.N.H. 1997).
1912, 72 L. Ed. 2d 299 (1982).
                                                                  57 Id.

53 Cannon  v. Univ. of Chi., 441 U.S. 677, 703, 99 S. Ct. 1946,
                                                                  58 Id.
60 L. Ed. 2d 560 (1979).
                                                                  59 S.    Rep. No. 100-64, at 17 (1987).
54 See   Walters v. President & Fellows of Harvard College, 601
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art museum, athletic directors, resident assistants at                requirement would render it impossible for teachers and
dorms, and student admissions recruiters. Nothing                     other employees to get relief under Title IX although they
Defendant cites persuades this Court that Title IX is                 are undoubtedly covered by Title IX given the Supreme
meant to allow claims by some of these employees but                  Court's holding in Jackson v. Birmingham Board of
not all. Title IX must be given "a sweep as broad as its              Education.65 Thus, the Court finds that Plaintiff need not
language."60                                                          make this showing.66

Lastly, Defendant conflates the issue of whether Title IX
requires that an employee have a "nexus" to educational               b. Sovereign Immunity
programs or activities and the issue of whether a
student's action under Title IX requires a showing that               Defendant also argues that it cannot be held liable for the
there was a "systemic effect of denying the victim equal              Title IX claim because Congress did not intend to waive
access to an educational program or activity" under Davis             sovereign immunity of the states. Defendant contends
v. Monroe County Board of Education.61 A student                      that the state did not have "notice" of the particular type
necessarily must show a "systemic effect of denying the               of lawsuit asserted [*21] here—"an implied right of action
victim equal access to an educational program or                      for money damages based on a claim of employment
activity," to demonstrate that gender-oriented conduct                discrimination against a sovereign for alleged sexual
rises to the level of actionable harassment under Title               harassment by a co-worker"—when it accepted federal
IX.62 By Defendant's own admission, [*20] this would be               funds more than five years ago.67 Defendant argues that
a separate inquiry from an inquiry into whether Plaintiff's           without notice, the state has not expressly consented to
work has a "nexus" to educational programs or activities.             be sued under these circumstances.

In any event, Defendant's argument is without merit.                  Plaintiff argues that Defendant has waived this argument
Defendant relies on cases that involve student sexual                 because it was not made in the Rule 50(a) motion. While
harassment under Title IX.63 But, as the Court explained              a party must raise all issues in its Rule 50(a) motion that
above, the Tenth Circuit holds that Title VII standards               it wishes to dispute in its Rule 50(b) motion,68 the Court
apply to Title IX employment discrimination cases,64 and              agrees with Defendant that jurisdictional arguments may
there is no indication that such a showing of systemic                be raised at any time.69 Because sovereign immunity is
effect of denying access to educational programs or
activities is required under Title VII. Indeed, such a

                                                                      discrimination under Title VII; courts should turn to that case law
60 N.
    Haven Bd. of Educ. v. Bell, 456 U.S. 512, 521, 102 S. Ct.         for guidance if confronted with an employment-related
1912, 72 L. Ed. 2d 299 (1982).                                        allegation of discrimination under Title IX.").

                                                                      65 544
61 526    U.S. 629, 652, 119 S. Ct. 1661, 143 L. Ed. 2d 839 (1999).         U.S. 167, 125 S. Ct. 1497, 161 L. Ed. 2d 361 (2005). Any
                                                                      language reflecting a "systemic denial" of access to educational
62 Id.   at 651-53.                                                   benefits is notably absent from the Title IX claim asserted in
                                                                      Jackson for employment retaliation.
63 See  id. (considering student sexual harassment claim); J.M.
                                                                      66 Admittedly,
ex rel. Morris v. Hilldale Indep. Sch. Dist. No. 1-29, 397 Fed.                        this Court improperly applied this standard in
Appx. 445, 2010 WL 3516730, at *4 (10th Cir. 2010)                    ruling on Defendant's Rule 50(a) motion, but as explained in
(considering student sexual harassment claim); K.T. v. Culver-        Part II.B.1.c.i. below, Plaintiff did not respond to this argument
Stockton Coll., No 16-165, 2016 U.S. Dist. LEXIS 106107, 2016         at the Rule 50(a) stage and the Court now has the benefit of
WL 4243965, at *6 (E.D. Mo. Aug. 11, 2016) (considering               complete briefing on the issue.
sexual harassment claim of student recruit); Johnson v. Indep.        67 Doc.   208 at 14.
Sch. Dist. No. 47, 194 F. Supp. 2d 939, 946 (D. Minn. 2002)
(considering student sexual harassment claim).                        68 SeeUnited Int'l Holdings, Inc. v. Wharf (Holdings) Ltd., 210
                                                                      F.3d 1207, 1228 (10th Cir. 2000); see Fed. R. Civ. P. 50(a)-(b).
64 Mabryv. St. Bd. of Comm. Colls. & Occupational Educ., 813
F.2d 311, 316 n.6 (10th Cir. 1987) ("There is a well-developed        69 Fed.   R. Civ. P. 12(h)(3).
body of case law concerning employment-related sex
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jurisdictional,70 it cannot be waived.                             State of Kansas, has waived sovereign immunity to
                                                                   claims under Title IX as outlined in 42 U.S.C. § 2000d-
Although this argument has not been waived, it is wholly           7(a)(1)-(2). Thus, Defendant is not immune.
without merit. Pursuant to its power under section five of
the Fourteenth Amendment, "Congress abrogated the
States' Eleventh Amendment immunity under Title IX."71             c. Denial of Access to Educational Benefits
This is codified at 42 U.S.C. § 2000d-7(a)(1), which
provides that: "[a] State shall not be immune under the            Defendant further argues that Plaintiff's [*23] allegations
Eleventh Amendment of the Constitution of the United               of emotional distress were insufficient for recovery of
States from suit in Federal court for a violation of . . . title   damages under Title IX because Plaintiff is required to
IX of the Education Amendments of 1972." It further                show a denial of access to educational programs or
provides in subsection (a)(2) that "[i]n a suit against a          activities. The Court briefly discussed its analysis of this
State for a violation of a statute [including Title IX],           requirement in the context of Defendant's argument that
remedies (including remedies both at law and in equity)            Title VII displaces relief under Title IX, concluding that in
are available for such a violation [*22] to the same extent        the employment discrimination context for purposes of
as such remedies are available for such a violation in the         Title IX sexual harassment allegations, denial of
suit against any public or private entity other than a             educational benefits is not a required showing outside of
State." Because this Court has found that Plaintiff may            student sexual harassment claims.74 For purposes of
properly bring a private right of action for employment            clarification and analysis, the Court will expand on the
discrimination under Title IX, Defendant may be sued for           applicable case law to explain why this "denial of access"
such a violation.                                                  requirement in the employment discrimination context
                                                                   under Title IX.
Defendant's argument that it was not on "notice" of a
private right of action for employment discrimination
based on alleged sexual harassment is also without                 i. Case Law Applying Title VII Standards to Title IX
merit. Although outside the sovereign immunity context,
in Jackson,72 the Supreme Court rejected this argument             As a threshold matter, the Tenth Circuit holds that Title
because "[f]unding recipients have been on notice that             VII standards should be applied to a case of employment
they could be subjected to private suits for intentional sex       discrimination brought under Title IX,75 finding "no
discrimination under Title IX since 1979, when we                  persuasive reason not to apply Title VII's substantive
decided Cannon."73 In short, Plaintiff has an implied              standards regarding sex discrimination to Title IX suits." 76
private right of action for money damages based on an              The Tenth Circuit further elaborated that Title VII is "the
employment discrimination claim for alleged sexual                 most appropriate analogue when defining Title
harassment under Title IX. Defendant, an entity of the             IX's [*24] substantive standards."77



                                                                   immunity and notice for purposes of Spending Clause are
70 Pueblo of Jemez v. United States, 790 F.3d 1143, 1151 (10th     analogous.
Cir. 2015) ("The defense of sovereign immunity is jurisdictional
                                                                   73 Id.
in nature, depriving courts of subject-matter jurisdiction where
applicable.").
                                                                   74 See    supra Part II.B.1.a.iii.
71
  Franklin v. Gwinnett Cty. Pub. Schs., 503 U.S. 60, 72, 112 S.
                                                                   75 Mabry
Ct. 1028, 117 L. Ed. 2d 208 (1992).                                        v. St. Bd. of Comm. Colls. & Occupational Educ., 813
                                                                   F.2d 311 (10th Cir. 1987); see also Gossett v. Okla. Bd. of
72 InJackson v. Birmingham Board of Education, the Supreme         Regents for Langston Univ., 245 F.3d 1172, 1176 (10th Cir.
Court considered the issue of notice in the context of the         2001).
Spending Clause's notice requirement. 544 U.S. 167, 181, 125
                                                                   76 Mabry,
S. Ct. 1497, 161 L. Ed. 2d 361 (2005). Private Title IX damages                 813 F.3d at 316.
actions are available only if the funding recipient had adequate
                                                                   77 Id.
notice it could be liable for the conduct alleged. Id. However,             at 316 n.6 (citation omitted).
this Court finds the issue of notice for purposes of sovereign
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Further, there is a body of case law applying Title VII's           misplaced. This regulation provides a laundry list of
substantive standards to Title IX employment                        employment benefits that cannot be denied on the basis
discrimination claims. For example, in Doe v. Mercy                 of sex in an educational program or activity receiving
Catholic Medical Center, the Third Circuit considered               federal financial aid, including broadly applying to "[a]ny
whether the claims of a medical resident for Title IX               other term, condition, or privilege of employment." Of
retaliation, quid pro quo sexual harassment, and hostile            course, this regulation is directly contrary to Defendant's
work environment were cognizable.78 First determining               position that Plaintiff must show a denial of access to
that there was a private right of action under Title IX,79          "educational" benefits; nothing in this regulation limits the
the Third Circuit went on to hold that Title VII standards          reach of Title IX to denial of educational benefits. In fact,
governed both the retaliation and quid pro quo sexual               the language "terms, conditions, or privileges of
harassment standards arising under Title IX.80 In fact, the         employment" as used in 34 C.F.R. § 106.51(b)(10) is
Third Circuit applied only one Title IX substantive                 directly lifted from Title VII.85
standard to the plaintiff's Title IX claims—the additional
element of actual notice and deliberate indifference                Finally, while the Court acknowledges that it applied the
articulated in Gebser v. Lago Vista Independent School              denial of access to educational [*26] benefits standard
District.81 This substantive standard is not applied to Title       in ruling on the Rule 50(a) motion, the issue was not
VII sexual harassment claims. The Third Circuit reasoned            raised at that stage in the litigation as Plaintiff did not
this Title IX standard must apply, given Title IX's                 respond to the Rule 50(a) motion. With the benefit of
Spending Clause origin, which requires "notice" of the              extensive briefing in the Rule 50(b) context, the Court
conduct to the university.82                                        agrees with Plaintiff that the systemic effect of denying
                                                                    the victim access to educational programs or activities
Notably absent from these cases is any requirement of               standard does not apply in the Title IX employment
denial of access to educational benefits. Indeed, as the            discrimination context.
Court previously [*25] discussed, if a claimant was
required to show a denial of equal access to educational
benefits, Title IX would not be applicable to employment            ii. Application of Title VII Severe or Pervasive
discrimination. For even a teacher or professor, which              Harassment Standard
Defendant seemingly concedes would be entitled to Title
IX protection,83 would not be able to demonstrate a                 While Plaintiff is not required to show a denial of access
                                                                    to educational benefits, Title VII sexual harassment
denial of access to educational benefits within the
                                                                    standards dictate what constitutes denial of terms,
meaning of Davis v. Monroe County Board of
                                                                    conditions, or privileges of employment. "For sexual
Education.84
                                                                    harassment to be actionable, it must be sufficiently
Furthermore, Defendant's reliance on 34 C.F.R. §                    severe or pervasive to alter the conditions of [the victim's]
106.51, a Department of Education regulation, is                    employment and create an abusive working
                                                                    environment."86 The applicable test for a hostile work



78 850                                                              82 Mercy
          F.3d 545, 558 (3d Cir. 2017).                                         Catholic Med. Ctr., 850 F.3d at 565-66.
                                                                    83 Doc.
79 Id.                                                                      245 at 6 ("Again, if a student or faculty member was
         at 560-66.
                                                                    experiencing discrimination within one of these operations, thus
80 Id.                                                              making it difficult or impossible for that student or educational
      at 563-66 (dismissing the hostile environment claim as
                                                                    employee to fulfill their educational goals, such student or
time barred).
                                                                    faculty member's claim would be covered by Title IX.").
81 524  U.S. 274, 290, 118 S. Ct. 1989, 141 L. Ed. 2d 277           84 526   U.S. 629, 652, 119 S. Ct. 1661, 143 L. Ed. 2d 839 (1999).
(requiring proof that an "official who at a minimum" had
"authority to address the alleged discrimination and to institute   85 See    42 U.S.C. § 2000e-2(a)(1).
corrective measures on the recipient's behalf" had "actual
knowledge of discrimination in the recipient's program" and         86 MeritorSav. Bank v. Vinson, 477 U.S. 57, 67, 106 S. Ct. 2399,
failed to adequately respond).                                      91 L. Ed. 2d 49 (1986); Harris v. Forklift Sys. Inc., 510 U.S. 17,
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environment has both an objective and subjective                     Further, on at least one occasion, Giles sat and waited in
component.87 In determining whether an objectively                   Plaintiff's custodial closet in the dark, startling Plaintiff
"severe or pervasive" hostile environment exists, the                when she arrived. Giles greeted Plaintiff, saying Plaintiff
Tenth Circuit states "it is necessary to look at all the             had finally made it. Plaintiff video recorded Cathy Butler
circumstances involved," including "the frequency of the             Brown wiping her crotch in front of Plaintiff and telling her
discriminatory conduct; its severity; whether [*27] it is            to "picture this." Plaintiff testified that incidents of this
physically threatening or humiliating, or a mere offensive           nature happened on average two to three times per week
utterance; and whether it unreasonably interferes with an            starting in 2012. Viewing the evidence in the light most
employee's work performance."88 The objective inquiry                favorable Plaintiff, [*29] there was sufficient evidence of
focuses on the perspective of a reasonable person in the             an objectively hostile work environment from the
plaintiff's position considering all the circumstances.89 To         perspective of a reasonable person in Plaintiff's position.
determine whether the environment was sufficiently
                                                                     And, there was sufficient evidence of conduct that was
severe or pervasive, the court is not required to find that
                                                                     subjectively severe or pervasive. Although Plaintiff need
the offending conduct seriously affected the plaintiff's
                                                                     not prove psychological suffering to recover, she
psychological wellbeing.90 However, "'simple teasing,' . .
                                                                     presented ample evidence that her psychological well-
. offhand comments, and isolated incidents (unless
                                                                     being suffered as a result of the environment at PSU.
extremely serious) will not amount to discriminatory
                                                                     Plaintiff testified that the sexually harassing conduct of
changes in the 'terms and conditions of employment.'"91
                                                                     Giles and Butler Brown affected her health. She could not
There was sufficient evidence presented at trial that the            eat, felt sick, and felt "gross." She began having
harassment was sufficiently objectively "severe or                   nightmares and had difficulty sleeping at night. During the
pervasive" to change the terms or conditions of Plaintiff's          day, she suffered from anxiety, experiencing her heart
employment. Jana Giles engaged in physical contact with              beating fast, sweating, and nausea. There was also
Plaintiff, including hair touching incidents and Giles's             evidence that while at work, Plaintiff would stop working
attempt to rub against Plaintiff while Plaintiff was cleaning        for short periods of time and sit in her custodial closet, to
a bathroom stall. Although there was contrary evidence               cope with her anxiety. Plaintiff testified that after Giles
that the hair touching incident was consensual, Plaintiff            started harassing her, she had to take an increased
testified that it was not. It is not the province of the Court       dosage of Xanax. While she had suffered panic attacks
to make [*28] credibility determinations. Viewing the                before the harassment started, Plaintiff testified that the
evidence in the light most favorable to Plaintiff, the hair          panic attacks became more severe and that she ranked
touching incidents were non-consensual.                              her anxiety as greater than 10 on a scale of 1 to 10
                                                                     following [*30] the harassment. Plaintiff testified that she
Further, there was evidence of objectively severe or                 was "scared for her life."
pervasive harassment. Giles made numerous sexually
charged comments, including asking Plaintiff's husband               Sandra Brown, a custodial supervisor senior at PSU,
how she tastes, asking Plaintiff about her sex life with her         corroborated Plaintiff's testimony, describing how Plaintiff
husband, asking Plaintiff if she had been with a woman,              was "bubbly," "fun," and "talkative," before the alleged
telling Plaintiff she could make her feel better than her            harassment began, but after it began, Plaintiff stopped
husband, and making a "hu-hu-hu" noise to mimic the                  talking to others, often cried, acted sad, and seemed
female orgasm while telling Plaintiff she had practiced all          depressed. Sandra Brown observed Plaintiff at work with
night for her. Giles also made sexually charged gestures             a red nose and swollen eyes. Plaintiff's husband, Rick
toward Plaintiff, including wiping her crotch in front of her.       Fox, who also worked as a custodial specialist at PSU,


21, 114 S. Ct. 367, 126 L. Ed. 2d 295 (1993).                        2012); Fuggett v. Security Transp. Servs., Inc., 147 F. Supp. 3d
                                                                     1216, 1232 (D. Kan. 2015).
87 Hernandez  v. Valley View Hosp. Ass'n, 684 F.3d 950, 957
                                                                     90 Nieto
(10th Cir. 2012).                                                              v. Kapoor, 268 F.3d 1208, 1219 (10th Cir. 2001)
                                                                     (citation omitted).
88 Chavez    v. New Mexico, 397 F.3d 826, 833 (10th Cir. 2005).
                                                                     91 Faragherv. City of Boca Raton, 524 U.S. 775, 788, 118 S. Ct.
89 Morris   v. City of Colo. Springs, 666 F.3d 654, 664 (10th Cir.   2275, 141 L. Ed. 2d 662 (1998).
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testified that during the time period of the harassment,               First, the Court finds that Johnson, PSU's Director of
Plaintiff acted sad, cried herself to sleep, and lost weight.          Equal Opportunity and Affirmative Action, was not
Viewing the evidence in the light most favorable to                    the [*32] only appropriate person to report the sexual
Plaintiff, there is sufficient evidence that the harassment            harassment to in order to put the university on notice.
was both objectively and subjectively severe or                        Indeed, the Tenth Circuit rejects the notion of determining
pervasive, and thus was actionable under Title IX.                     the "appropriate person" based on job title alone.97 And,
                                                                       it is not the standard that victims of sexual harassment
d. Actual Notice And Deliberate Indifference                           must notify the Title IX coordinator or human resources
                                                                       representative to appropriately be considered to have put
Defendant's argument that there was insufficient
                                                                       the university on actual notice. Rather, the Tenth Circuit
evidence of actual notice to an appropriate person at
                                                                       determines the appropriate person based on whether the
PSU is threefold. First, Defendant argues that actual
                                                                       position had the ability to halt the sexual abuse.98 While
notice was not given to an appropriate person, namely
                                                                       it is undisputed that Johnson had the power to halt the
Johnson, until February 2014. Second, if Endicott and
                                                                       abuse, she had no power to fire, discipline, or reprimand
Malle     were    appropriate    persons      to    receive
                                                                       based on sexual harassment allegations. She testified
reports [*31] of sexual harassment, Plaintiff's statements
                                                                       that she was not a "disciplinarian" and only could "make
were too vague to give them notice. Third, once charged
                                                                       recommendations." Johnson was an appropriate person,
with actual notice, PSU did not act deliberately indifferent
                                                                       but not the only appropriate person.
to the allegations of sexual harassment.
                                                                       Second, the Court finds Malle and Endicott were among
To succeed on a Title IX claim, the Supreme Court has
                                                                       the appropriate persons to whom to report sexual
held that a claim for money damages based on sexual
                                                                       harassment for purposes of Title IX liability. In Murrell v.
harassment may arise under Title IX only if (1) "an official
                                                                       School District Number 1 of Denver, Colorado, the Tenth
who at a minimum has authority to address the alleged
                                                                       Circuit clarified that "appropriate persons" to report to for
discrimination and to institute corrective measures on the
                                                                       the purposes of Title IX liability depends [*33] on
[funding] recipient's behalf has actual knowledge of
                                                                       whether they exercised control over the harasser and
discrimination in the recipient's programs and fails
                                                                       depends on the context in which the harassment
adequately to respond," and (2) the inadequate response
                                                                       occurred.99 While the Tenth Circuit held the principal of
"amount[s] to deliberate indifference to discrimination." 92
                                                                       the school was considered an appropriate person, it also
Schools cannot be held vicariously liable for acts of
                                                                       acknowledged that the "highest-ranking administrator"
sexual harassment committed on campus.93 Instead,
                                                                       was not the only person for which Title IX liability could
schools are liable under Title IX for only their own
                                                                       attach.100 The Tenth Circuit "decline[d] simply to name
misconduct, and not just any type of misconduct.94 The
                                                                       job titles that would or would not adequately" satisfy the
school must be found to have acted with legal culpability
                                                                       "appropriate person" standard.101 Instead, it explained
known as deliberate indifference.95 This rule imposes
                                                                       that this was necessarily a fact-based inquiry, focused on
liability only on schools that choose to ignore Title IX's
                                                                       whether the official had the authority to halt known
mandates.96
                                                                       abuse.102 Defendant cites a number of cases requiring



92 Gebser                                                              97 Id.
          v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290,                     at 1247.
118 S. Ct. 1989, 141 L. Ed. 2d 277 (1998).
                                                                       98
                                                                            Id.
93 Escue   v. N. Okla.. Coll., 450 F.3d 1146, 1152 (10th Cir. 2006).
                                                                       99 Id.     at 1248.
94 See   id.
                                                                       100 See      id. at 1247-48.
95 See   id.
                                                                       101 Id.    at 1247.
96 Murrellv. Sch. Dist. No. 1 Denver, Colo., 186 F.3d 1238, 1247
                                                                       102 Id.
(10th Cir. 1999).                                                              (providing the example of halting abuse through
                                                                       "transferring the harassing student to a different class,
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the appropriate person to have responsibility over the               Endicott, the director of custodial services, oversaw all
entire operation of the school,103 but this is not the               custodial and general services staff. Endicott had the
standard the Tenth Circuit has annunciated. Rather, the              power to hire, fire, and discipline employees, including
person needs to have authority to institute corrective               Giles and Butler [*35] Brown. She also evaluated each
measures.104                                                         custodial supervisor for PSU, and she signed off on
                                                                     supervisor evaluations of all employees. Malle testified
Malle, the physical plant supervisor and direct supervisor           that complaints were often referred to Endicott when they
of Plaintiff, Giles, and Butler Brown, exercised control             were beyond his control. Thus Endicott was an
over their schedules and assignments. While Malle did                "appropriate person" for purposes of reporting sexual
not have the power to fire or suspend, he was in charge              harassment.
of evaluating employees and had authority to issue verbal
reprimands,          as        part       of       PSU's             Furthermore, the Court finds that Malle and Endicott were
progressive [*34] disciplinary system. Malle was also                given "actual notice" of sexual harassment prior to March
considered the shift supervisor, so complaints were to be            2014. Actual notice "requires more than a simple report
lodged with him; and Malle testified that he would take              of inappropriate conduct . . . [however] the actual notice
notes on such complaints. Malle further testified that               standard does not set the bar so high that a [school] is
allegations of sexual harassment were considered an                  not put on notice until it receives a clearly credible
exception to the progressive discipline system, and that             report."107 For example, the Tenth Circuit held in Rost v.
he had a duty to report such allegations to Johnson for              Steamboat Springs RE-2 School District that the
investigation. Nonetheless, there was evidence that                  statement "that these boys were bothering me" was
Malle gave a verbal reprimand to Butler Brown following              insufficient to put the school on actual notice of
the incident where she grabbed her crotch and said                   harassment.108
"picture this" to Plaintiff. Indeed, Defendant had
PowerPoint105 and training materials on hostile work                 But here, without delving into any off-campus conduct to
environment, which was used to train faculty and staff.              which Defendant argues Title IX does not cover,109 there
These materials stated that if an employee was feeling               was more than sufficient evidence of actual notice of
harassed, he or she must "[r]eport the behavior to                   sexual harassment based solely on reports of the on-
someone who is authorized to take action to stop the                 campus conduct. Plaintiff testified that in 2012 or 2013,
harassment such as your supervisor . . . ."106 Malle had             she complained to Malle about Giles'conduct. Plaintiff
authority to issue corrective measures and thus was an               further [*36] testified that she had complained to Malle
"appropriate person" for purposes of reporting sexual                sometime before the September 2013 incident in which
harassment.                                                          Malle took she and Giles to Endicott's office after their


suspending him, curtailing his privileges, or providing additional   105 Pl.'s   Ex. 12.
supervision").
                                                                     106 Id.
103 See Warren v. Reading Sch. Dist., 278 F.3d 163, 174 (3d
Cir. 2002) (holding principal as appropriate person to report        107 Escue,     450 F.3d at 1154.
harassment to while declining to find the school guidance
counselor as an appropriate person because he did not have           108 511     F.3d 1114, 1119 (10th Cir. 2008).
authority over the accused harasser); Ross v. Univ. of Tulsa,
180 F. Supp. 3d 951, 2016 WL 1545138 (N.D. Okla. 2016)               109 The  Tenth Circuit suggests that harassment off school
(holding campus police were appropriate person because they          grounds may create liability under Title IX where the school is
had the authority to institute corrective measures aimed at          in control over the harasser and the environment in which the
ending harassment); Burtner v. Hiram Coll., 9 F. Supp. 2d 852,       harassment occurs, and there is a "nexus" between the out of
856 (N.D. Ohio 1998) (holding there was no actual notice to          school conduct and the harassment. Rost v. Steamboat Springs
Hiram until student was leaving school, which was unrelated to       RE-2 Sch. Dist., 511 F.3d 1114, 1121 n.1 (10th Cir. 2008); see
the appropriate person standard).                                    also Weckhorst v. Kan. St. Univ., No. 16-2255, 2017 U.S. Dist.
                                                                     LEXIS 36756, 2017 WL 980456 (D. Kan. Mar. 14, 2017)
104 Escue   v. N. Okla.. Coll., 450 F.3d 1146, 1152 (10th Cir.       (analyzing Tenth Circuit case law regarding off campus conduct
2006).                                                               and Title IX liability).
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altercation. Plaintiff testified that although Malle assured         Sandra Brown told Endicott "we all know something is
her that he would tell Endicott, nothing improved, and in            going on" and "you can see her when she comes through
fact, the harassment worsened. In September 2013,                    the time clock, something has happened."111 Butler
Malle witnessed a confrontation between Giles and                    Brown suggested to Endicott that the two be split up.
Plaintiff, and took them to Endicott's office. Plaintiff             Sandra Brown testified that Endicott stated it was none of
testified that during this meeting, she told Endicott about          Brown's business. Sandra Brown further testified this
Giles rubbing against her in the bathroom stall while she            while this was the only time she mentioned the conduct
cleaned, touching her hair, and making the sexual "hu-               between Giles and Plaintiff to Endicott, she had brought
hu-hu" noise while saying she practiced all night for her.           it to Malle's attention "at least twice" before. Sandra
Plaintiff further testified that she told Endicott that Giles        Brown had told Malle that there was something going on
was lusting over her, and that Giles was undressing                  with Giles and Plaintiff, and it was getting out of hand, to
Plaintiff with her eyes.                                             which Malle responded that Endicott was taking care of
                                                                     it.
Endicott testified that she first became aware of the
conduct ongoing between Plaintiff and Giles in                       Rick Fox testified that after Plaintiff complained to Malle,
September 2013 when Malle brought Plaintiff and Giles                on five or six occasions, Rick Fox asked Malle whether
to her office. Endicott further testified that Plaintiff never       he was going to do something to stop the conduct. Rick
called the complained-of conduct "sexual harassment."                Fox testified that he did not use the words "sexually
Endicott testified that Plaintiff mentioned the "hu-hu-hu"           hostile work environment" because he did not know what
sound Giles made that Plaintiff believed was sexual in               that was. Later, Rick Fox complained to Endicott after
nature. [*37] Endicott further testified that she then               Malle did nothing to stop the conduct. And, in February
asked Plaintiff if she was alleging that Giles sexually              2014, Rick Fox wrote a letter to Johnson that included
harassed her, but Plaintiff did not answer. Endicott further         many of the sexual harassment allegations his
testified that because of Plaintiff's nonresponse, Endicott          wife [*39] made. Rick Fox's letter further stated that he
did not perceive the conduct as sexual harassment.                   was complaining to Johnson because "Wanda and Kevin
Giles's testimony contradicts Endicott's testimony about             [were not] doing anything about" the allegations.112
the meeting in Endicott's office. Giles testified that at the
meeting Plaintiff told Endicott that Plaintiff was alleging          Viewing all of the testimony and evidence in the light most
sexual harassment, which prompted Giles to throw her                 favorable to Plaintiff, the Court finds these facts sufficient
glasses in frustration and suggest Plaintiff and her meet            to support a showing of actual notice to Malle and
at the park to have a fist fight.110                                 Endicott prior to March 2014. There is no requirement
                                                                     that the words "sexual harassment" must be used to put
Endicott further testified that Plaintiff did not make               the university on notice. Based on all of the testimony
another complaint about harassment until February 2014               outlined above, there was sufficient evidence Malle had
when Plaintiff showed Endicott the video of Butler Brown             been told on multiple occasions about the ongoing
grabbing her crotch and saying "picture this." Endicott              conduct between Plaintiff and Giles as early as 2012,
testified that this was the first time Plaintiff mentioned           including comments about the "hu-hu-hu" noise, hair
sexual harassment. Endicott also testified that in the               touching, questioning about Plaintiff's sex life, and Giles
February 2014 meeting, Plaintiff advised her that Plaintiff          rubbing against Plaintiff. During the September 2013
had been telling Malle about this conduct for quite some             meeting in Endicott's office, Plaintiff put Endicott on
time.                                                                actual notice of sexual harassment, describing conduct
                                                                     including Giles rubbing her body against Plaintiff in a
Sandra Brown testified that on another occasion, while               bathroom stall and making sexual noises and gestures.
she was in Endicott's office to make an unrelated                    In fact, this prompted Endicott to question Plaintiff about
complaint,      Sandra    Brown      mentioned         the           whether she was alleging sexual harassment. Testimony
relationship [*38] between Giles and Plaintiff to Endicott.          from Giles confirmed that at the September 2013


110 This                                                             111 Doc.
         was further corroborated in an email sent from Giles to                 200 at 22:14-16.
Johnson stating that in the September 2013 meeting "M. Fox           112 Pl's   Ex. 10.
said I [Giles] sexually harassed her in McCray Hall." Pl's Ex. 20.
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meeting, [*40] Plaintiff alleged and Giles understood                out after Giles in order to avoid confrontation. This was
Plaintiff to be alleging sexual harassment. This was not             the only "remedial" measure taken. Despite multiple
merely an incident where Defendant "should have                      complaints      of    conduct      constituting     "sexual
known" about the harassment, but rather, Defendant                   harassment,"116 Defendant performed no investigation,
received actual notice of sexual harassment allegations.             and Endicott did not report the complaints to Johnson so
Viewing the evidence in the light most favorable to                  that Johnson could investigate. Based on PSU's policy
Plaintiff, there was evidence of actual notice to Malle and          and training, and information on its website,117 sexual
Endicott earlier than March 2014, and at the absolute                harassment was to be reported to Johnson. Nor did
latest in September 2013.                                            Defendant take disciplinary measures against Giles.
                                                                     Thus, as Plaintiff testified, after the September 2013
The Court further finds that there is sufficient evidence            meeting, the harassing comments got worse, including
that having been given actual notice, Defendant acted                Giles calling her a bitch, telling her she smelled like a
with deliberate indifference. A response is deemed to                skunk, and flipping her off. Malle and Endicott's failure to
show deliberate indifference only where the federal                  report to Johnson, and the sole "remedial" measure
funding recipient's response to the harassment or lack               of [*42] separation at the time clock, could be viewed as
thereof is clearly unreasonable in light of the known                unreasonable in light of the espoused allegations of
circumstances.113 Thus, a response is deemed to                      sexual harassment made at the meeting.
amount to deliberate indifference where there is an
official decision by the recipient not to remedy the                 Defendant was again placed on actual notice in February
violation.114                                                        2014 when Plaintiff showed Endicott the video recording
                                                                     of Butler Brown grabbing her crotch. Malle responded by
There was evidence that prior to September 2013,                     meeting with Butler Brown and taking notes on Butler
Plaintiff and Rick Fox had told Malle about sexually                 Brown's side of the story.118 Malle testified he told Butler
harassing conduct from Giles beginning in 2012. Despite              Brown the conduct was inappropriate and that she should
Malle's assurance that he was going to involve Endicott,             not do it again; and Malle relayed this information to
he did not. Nor did Defendant respond when Sandra                    Endicott, who also talked to Butler Brown about the
Brown [*41] put Malle and Endicott on actual notice of               incident. Notes from their meeting suggested Butler
issues between Plaintiff and Giles. Viewing the evidence             Brown apologized to Endicott, and Endicott cautioned her
in the light most favorable to Plaintiff, this was                   that the gesture was inappropriate and should not be
unreasonable, in light of Malle's duty per PSU training              repeated. Neither Malle nor Endicott referred this to
and policies to document everything, stop the                        Johnson as a complaint of sexual harassment.
harassment, and/or report it to Johnson.115
                                                                     Moreover, Johnson's response in March 2014 could be
Later, when Defendant was again given actual notice,                 deemed unreasonable as a matter of law. As an
this time during the September 2013 meeting,                         appropriate person,119 Johnson's investigation could
Defendant's only response was to direct Plaintiff to clock


                                                                     victim also said the matter was resolved, so no action was
113 Davisv. Monroe Cty. Bd. of Educ., 526 U.S. 629, 648, 119         taken. Id. Once more specific allegations were made, there
S. Ct. 1661, 143 L. Ed. 2d 839 (1999).                               were corrective measures taken including an investigation,
                                                                     disciplinary proceeding, and a reassignment. Here, there were
114 Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 290,       sufficient details of the conduct between Giles and Plaintiff as
118 S. Ct. 1989, 141 L. Ed. 2d 277 (1998).                           well as evidence that the words sexual harassment were used.
115 Doc.                                                             Yet there was no investigation or discipline, and the only
           201 at 15:7-15.
                                                                     remedial measure was to have the women clock out separately.
116 Defendant  cites at length Helm v. Kansas,656 F.3d 1277          Thus, the case is not analogous.
(10th Cir. 2011), as analogous to the facts of this case. In Helm,   117 Pl's   Ex. 17.
the allegations of sexual harassment were vague, including only
                                                                     118 Pl's
allegations that the alleged harasser made the alleged victim                   Ex. 37.
uncomfortable and the relationship had become inappropriate.         119 Johnson  admitted in her testimony that Plaintiff was subject
Id. at 1281. There were no details involved. Id. The alleged         to a sexually hostile work environment when she came forward
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reasonably be viewed as deliberately indifferent. Johnson        favorable to Plaintiff, there was sufficient evidence of a
received written complaints in March 2014 from Plaintiff         deliberately indifferent response to allegations of sexual
and Rick Fox that actually used the word "harassment,"           harassment of which Defendant had actual notice.
and outlined a number of incidents [*43] including the
incident in September 2013 meeting, the instance of              2. Title VII Claim
Butler Brown rubbing her crotch, and the instances of
                                                                 Defendant moves for judgment as a matter of law on the
Giles asking about her sex life, and sitting in Plaintiff's
                                                                 Title VII claim for five reasons—(1) Plaintiff failed to prove
custodial closet in the dark.120 Plaintiff suggested
                                                                 that the harassment occurred because of her gender; (2)
Johnson talk to Butler Brown and other witnesses at the
                                                                 Plaintiff bootstrapped non-sexual, non-gender based
timeclock in order to corroborate her allegations. Yet
                                                                 conduct into her sexual harassment claim; (3) Defendant
Johnson did not interview those witnesses for fear it
                                                                 is not liable for after hour, off campus conduct; (4) Plaintiff
would cause a "firestorm."121 Based solely on her
                                                                 failed to prove the conduct was severe, physically
communications with Giles, Rick Fox, Endicott, Malle,
                                                                 threatening or humiliating, or that it interfered with her
and Plaintiff, Johnson decided that Giles committed no
                                                                 work; and (5) Plaintiff failed to show Defendant had actual
sexual harassment. And, Johnson also decided that
                                                                 or constructive notice of the harassment.
Plaintiff had exhibited discriminatory conduct and
contributed to a hostile work environment.122                    a. Harassment Because of Plaintiff's Gender

Johnson issued a letter that stated that the complained of       Defendant contends it is entitled to judgment as a matter
conduct was inappropriate and in violation of PSU's              of law because Plaintiff provided insufficient
Notice of Nondiscrimination and Sexual Harassment                evidence [*45] that the conduct was based on her
Policy.123 And as a "remedy," Johnson ordered Giles,             gender. To bring a claim of gender discrimination based
Rick Fox, and Plaintiff to submit to sexual harassment           on a hostile work environment under Title VII, Plaintiff
training as discipline for mutually creating a hostile           must establish (1) she is a member of a protected group;
environment. Yet during her meeting with Plaintiff to            (2) she was subject to unwelcome harassment; (3) the
counsel on sexual harassment, Johnson acknowledged               harassment was based on sex; and (4) due to the
that the conduct Plaintiff experienced was so pervasive          harassment's severity or pervasiveness, the harassment
that it [*44] altered the condition of Plaintiff's work          altered a term, condition, or privilege of the plaintiff's
environment, and made Plaintiff uncomfortable and                employment and created an abusive working
scared to come to work. Unbeknownst to Johnson,                  environment.125 The Supreme Court has held that both
Plaintiff was audio recording their conversation; and the        opposite-sex and same-sex sexual harassment is
tape recording of Johnson's admissions was admitted              actionable under Title VII, but that such harassment
into evidence.124 Viewing the evidence in the light most         violates Title VII only when it is "because of sex."126


to complain to Johnson. This was further corroborated by an      in lieu of Defendant conducting an interview. In light of the
audio recording Fox made of a conversation between she and       circumstances, refusal to interview any witnesses was a clearly
Johnson, where Johnson admitted as much. Pl's Ex. 57bb.          unreasonable response given that Fox's written statement
120 Pl's                                                         included the word "harassment."
           Ex. 4, 10.
                                                                 122 Pl's   Ex. 24.
121 Defendant  cites Rost v. Steamboat Springs RE-2 School
                                                                 123 Id.
District, 511 F.3d 1114, 1122 (10th Cir. 2008), for the
proposition that the school is not charged with interviewing     124 Pl's   Ex. 57bb.
witnesses. However, the Court finds this case distinguishable.
Whereas Rost involved school children, these were adults who     125 Harsco  Corp. v. Renner, 475 F.3d 1179, 1186 (10th Cir.
were employees and undoubtedly should be held to a higher
                                                                 2007); Dick v. Phone Directories Co., 397 F.3d 1256, 1263
standard of conduct. Rost also involved vague allegations that
                                                                 (10th Cir. 2005) (citing Seymore v. Shawver & Sons, Inc., 111
the victim was being "bothered." The school did not conduct
                                                                 F.3d 794, 798 (10th Cir. 1997)).
independent interviews in Rost because the police were called.
Here, there was a handwritten statement outlining the            126 Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 79-
allegations and even stating that harassment was being
                                                                 80, 118 S. Ct. 998, 140 L. Ed. 2d 201 (1998).
alleged. Unlike in Rost, the police never conducted interviews
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Thus, the third element—harassment based on sex—               considered sexual proposals. For example, Giles stated
requires that the animus be based on sex because Title         that she could make Plaintiff feel better than her husband,
VII does not establish "a general civility code."127           questioned Plaintiff's sexual performance with her
                                                               husband, and questioned Plaintiff about whether she had
After recognizing a cause of action for same-sex sexual        ever been with a woman.
harassment, the Supreme Court laid out three evidentiary
routes in which an inference of discrimination because of      Further, Giles made sexual gestures to Plaintiff. For
sex can be drawn in the hostile work environment               example, Giles rubbed her crotch at the timeclock and
context.128 First, a factfinder could infer that the           made a "hu-hu-hu" noise while stating she had been
harassment was motivated by sex if the conduct                 practicing all night for Plaintiff. Plaintiff testified Giles
consisted of proposals of sexual activity and "there [was]     waited in Plaintiff's custodial closet with the lights off and
credible [*46]    evidence that the harasser was               stated she was glad Plaintiff made it and it was about time
homosexual."129 Second, the plaintiff could show that          she got there. Giles did not need to explicitly ask Plaintiff
she was "harassed in such sex-specific and derogatory          to engage in sexual acts or to go on a date, as Defendant
terms by another woman as to make it clear that the            suggests. Viewing the evidence in the light most
harasser [was] motivated by general hostility to the           favorable to Plaintiff, there was sufficient evidence for a
presence of women in the workplace."130 Third, the             reasonable jury to conclude that Giles's conduct was
plaintiff could "offer direct comparative evidence about       based on sexual desire, and that Giles's conduct was
how the alleged harasser treated members of both sexes         based on Plaintiff's sex.
in a mixed-sex workplace."131 Plaintiff takes the first
                                                               Defendant further argues that because Butler Brown was
evidentiary route. Elaborating on the first evidentiary
                                                               not proven [*48] to be homosexual, her conduct could
route, the Tenth Circuit holds whether same-sex
                                                               not be considered to be based on Plaintiff's sex.
harassment is because of the victim's sex hinges on
                                                               However, the Tenth Circuit has explicitly stated that the
whether the harasser's conduct is motivated by "sexual
                                                               alleged harasser need not be openly homosexual as long
desire."132
                                                               as the conduct was motivated by sexual desire.134 While
Defendant argues that Giles's conduct was not based on         there was no evidence submitted about Butler Brown's
Plaintiff's sex because many of the comments were non-         sexual orientation, there was sufficient evidence that the
sexual in nature, such as calling Plaintiff a skunk, telling   February 2014 incident was motivated by sexual desire.
her she stunk, and telling Plaintiff that she was going to     Butler Brown was caught on camera looking at Plaintiff.
beat her ass. Although there was evidence of such non-         She grabbed her crotch and told Plaintiff to "picture this."
sexual comments, there was sufficient evidence from            Viewing the evidence in the light most favorable to
which a reasonable jury could find that Giles's conduct        Plaintiff, this is suggestive of an implicit invitation to
was motivated by sexual desire, not by mere dislike. Giles     engage in sexual conduct rather than "non-sexual
was openly homosexual, as she and her long-term                horseplay" as Defendant suggests.
partner Kristi McGowan [*47] testified.133 There was
                                                               Defendant also argues that the alleged harassment was
evidence that Giles rubbed against Plaintiff in the
                                                               not based on sex because it was merely "non-sexual
bathroom stall and touched her hair in a sexual manner.
                                                               conduct, innocuous events, and/or bullying."135 The
Giles made numerous statements that implicitly could be


127 Id.                                                        132 See
          at 81.                                                          Dick, 397 F.3d at 1265.

                                                               133 Id.
128 Id.   at 80-81.                                                   ("[T]he fact that the harasser is homosexual may support
                                                               a finding that her conduct was motivated by sexual desire.").
129 Id.   at 80.
                                                               134 Id.
                                                                     ("But a plaintiff need not, in every first-evidentiary-route
130 Id.   at 80-81.                                            case, establish that her harasser is homosexual in order to
                                                               demonstrate that the harassing conduct was motivated by
131 Id.                                                        sexual desire.").
                                                               135 Doc.   210 at 5.
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Court rejects Defendant's argument that in admitting               support a gender-based hostile work environment claim
evidence of non-sexual conduct that underlay Plaintiff's           when "viewed in the context of other, overtly gender-
retaliation claim, the Court improperly subjected                  discriminatory conduct."137 Thus, when a plaintiff
Defendant to liability on the retaliation claim on which the       introduces evidence of both gender-based and
Court had previously granted summary judgment to                   genderneutral harassment, and when a jury, viewing the
Defendant.        This    argument       lacks     merit    for    evidence in context, "reasonably could view all of the
several [*49] reasons. First, as the Court will explain in         allegedly harassing conduct . . . as the product of sex and
more depth below, the Tenth Circuit allows for                     general hostility," then "it is for the fact finder to decide
consideration of facially gender-neutral abusive                   whether such an inference could be drawn."138 The
conduct.136 Second, the Court previously explained in its          Tenth Circuit has also cautioned that there cannot be a
limine order that many of these facially gender-neutral            "mathematically precise test" for a hostile work
events properly relate to both the retaliation claim and the       environment claim.139 Here it was proper to admit
hostile environment sexual harassment claim. For                   evidence of the gender-neutral abusive conduct,
example, evidence of Giles challenging Plaintiff to a              including: (1) Giles challenged Plaintiff to a physical
fistfight is relevant to both to the retaliation claim and the     altercation; (2) Giles threw her eyeglasses across
severity or pervasiveness of the harassment. Third, the            Endicott's office during the September 2013 meeting; and
jury was not instructed on retaliation, so Defendant is not        (3) Giles called Plaintiff a "bitch," told Plaintiff she was
being held liable on such a theory.                                going to wipe her ass with Plaintiff, and told Plaintiff she
                                                                   smelled like a skunk.

b. "Bootstrapping" Non-Sexual, Non-Gender                          Moreover, Defendant [*51] ignores or downplays nearly
Conduct                                                            all of the gender-related harassment alleged at trial. As
                                                                   the Court has outlined in detail above, there is more than
Defendant next contends it is entitled to judgment                 sufficient evidence of sexually charged conduct and
because Plaintiff is improperly "bootstrapping" non-               comments.140 A reasonable jury could credit this
sexual, non-gender based conduct as evidence.                      evidence despite the fact that the testimony did not
Although inartfully drafted, Defendant's brief seems to            specify the dates or precise frequency of this conduct.
suggest that Plaintiff must meet a threshold for gender-
related comments and conduct before non-gender-                    Plaintiff testified that the sexually harassing conduct
related comments and conduct may be considered, and                between her and Giles began in 2012 and continued for
that the evidence of gender-related conduct was                    approximately two years, until she filed her charge of
insufficient in detail and frequency to allow admission of         discrimination with the EEOC in March 2014. Plaintiff
the non-gender-related conduct. Defendant cites                    testified incidents would happen two to three times per
no [*50] case law supporting its "threshold" theory, and           week. Plaintiff testified that the harassing conduct
the Court declines to impose such a requirement absent             worsened in March or April 2013. Sandra Brown
direction from the Tenth Circuit.                                  corroborated this testimony when she testified that Giles
                                                                   would harass Plaintiff two to three nights a week. Sandra
In fact, facially gender-neutral abusive conduct can               Brown testified this happened in 2013 and 2014, and she



136 See                                                            139 Hernandez
       O'Shea v. Yellow Tech. Servs., Inc., 185 F.3d 1093,                        v. Valley View Hosp. Ass'n, 684 F.3d 950, 957
1097 (10th Cir. 1999).                                             (10th Cir. 2012) (citing Harris v. Forklift Sys. Inc., 510 U.S. 17,
                                                                   22, 114 S. Ct. 367, 126 L. Ed. 2d 295 (1993)).
137 Id.at 1097; see also Chavez v. New Mexico, 397 F.3d 826,
                                                                   140 See
833 (10th Cir. 2005) ("The question then becomes whether                    supra Part II. B.1.c.ii; II.B.2.a (outlining testimony
Plaintiffs can use a substantial amount of arguably gender-        relating to sexually charged conduct and comments, including
neutral harassment to bolster a smaller amount of gender-          non-consensual hair touching, rubbing against Plaintiff in the
based conduct on summary judgment. Our precedents say that         bathroom, sexually charged comments, and Giles wiping her
they can.").                                                       crotch in front of Plaintiff).

138 Chavez,   397 F.3d at 833 (citing O'Shea, 185 F.3d at 1102).
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estimated this went on for a year and a half. Taken               off-campus and after-hours incident certainly had a work
together, in the light most favorable to Plaintiff, there was     nexus. Giles and McGowan were on campus when Rick
sufficient evidence of overtly gender-related sexual              Fox and Plaintiff got off work. McGowan flashed her lights
comments and conduct. Plaintiff presented specific                at the Foxes on campus, and Giles pulled up alongside
examples of sexually charged conduct and comments,                their car. Plaintiff and Rick Fox left the campus, stopped
identified general time frames [*52] of the conduct, and          at a gas station, and continued home. When they arrived
provided relevant content and context of these                    home, McGowan was waiting in her vehicle, in front of the
comments.141                                                      Foxes's home, while Giles was in her own vehicle, sitting
                                                                  at the end of the Foxes' street.144 McGowan and Rick
                                                                  Fox got into an altercation in the Foxes' driveway, and
c. Off-Campus, After-Hour Conduct For Title VII                   Plaintiff called the police. The altercation stemmed from
Liability                                                         events in the workplace earlier that day; Endicott had told
                                                                  Giles that Plaintiff was accusing her of sexual
Defendant also contends it is entitled to judgment as a           harassment. Furthermore, Rick Fox testified that during
matter of law as to all off-campus, after-hours conduct.          his altercation with her, McGowan was on the phone with
Defendant refers to: (1) evidence regarding the conduct           Giles and he could hear them talking to each other.
of Kristi McGowan, Giles's long-time partner, because             Further, Plaintiff testified that she reported this
McGowan was a non-employee, and her conduct was off-              incident [*54] to Endicott at work, but Endicott stated
campus; and (2) evidence regarding the February 21,               nothing could be done as this was off campus, outside of
2014 incident where Giles and McGowan were at and/or              work hours, and involved a non-employee. Viewing the
near the Fox home.                                                evidence in the light most favorable to Plaintiff, the Court
                                                                  finds there was a nexus between this conduct and the
Defendant does not cite case law supporting its argument
                                                                  workplace as the harassing conduct began on campus
that conduct occurring outside of the office cannot be
                                                                  and Giles, an employee, was nearby and talking with her
considered for purposes of Title VII. Rather, Defendant
                                                                  partner McGowan throughout McGowan's encounter with
seeks to distinguish Meritor Savings Bank FSB v.
                                                                  Plaintiff and Rick Fox.
Vinson,142 a Title VII sexual harassment hostile work
environment case. In Meritor, the Supreme Court found             Further, Defendant's argument that employees could not
proper the consideration of a number of the allegations           be disciplined for off-campus conduct is without merit.
related to the supervisor-harasser's conduct after                Endicott testified an employee could lose his or her job
business hours and outside of the workplace.143                   for off-campus conduct. For example, in the September
Defendant argues Meritor is distinguishable because the           2013 meeting in Endicott's office, Giles told Plaintiff that
victim and harasser in Meritor were in a supervisor-              they should go to a park and have a fist fight. Endicott
supervisee relationship and the harassment had a nexus            warned Giles that she could lose her job for such conduct.
to work. But, while [*53]         Meritor is factually
distinguishable, the general proposition that after-work          Finally, Defendant points to this Court's ruling granting
and out-of-office conduct may be considered applies in            Defendant summary judgment on the retaliation claim, as
this case.                                                        supporting Defendant's argument that Endicott and Malle
                                                                  had no control over McGowan' conduct during the
Although Giles and Plaintiff did not have a supervisor-           February 21, 2014 altercation. In the context of the
supervisee relationship like in Meritor, the February 21          previously dismissed retaliation claim, this Court stated:


                                                                  citations to any "content, context or date of such slurs.").
141 Compare   Hernandez, 684 F.3d at 959 (finding sufficient
                                                                  142 477
evidence of hostile work environment where plaintiff was giving              U.S. 57, 106 S. Ct. 2399, 91 L. Ed. 2d 49 (1986).
specific examples of her supervisors' racial jokes, identifying
                                                                  143 Id.
general time frames, and providing the relevant content and                 at 59-60.
context of these comments) with Ford v. West, 222 F.3d 767,       144 RickFox and Martha Fox both testified that Giles was at the
777 (10th Cir. 2000) (finding insufficient allegations of
                                                                  end of the street. Doc. 200 at 86:12-14; Doc. 201 at 115:22-23.
harassment where the plaintiff "baldly assert[ed] he was
continuously subjected to racial slurs," and provided no record
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     Similarly, no reasonable jury [*55] could find that               interferes with an employee's work performance.'"147
     Malle and Endicott's response when the Foxes told                 This objective inquiry focuses on the perspective of a
     them that McGowan came to their house amounted                    "reasonable person in the plaintiff's position, considering
     to encouragement of McGowan's behavior or                         all the circumstances,"148 and requires "careful
     disregard for Plaintiff's complaint. Rather, they                 consideration of the social context in which particular
     expressed their belief that they could not discipline             behavior occurs and is experienced by its target."149
     Giles for behavior by her girlfriend that occurred
     outside of the workplace. Furthermore, although                   By requiring a showing of a workplace permeated by
     Giles was in her car down the street during the                   severe or pervasive discriminatory conduct, the Supreme
     interaction between Rick Fox and McGowan, any                     Court struck a balance between two extremes, creating
     retaliatory behavior during this interaction was by               "a middle path between making actionable any conduct
     McGowan, who was not a PSU employee and over                      that is merely offensive and requiring the conduct to
     whom Malle and Endicott had no authority.145                      cause a tangible psychological injury."150 In so doing, the
But this reasoning was in the context of consideration of              Supreme Court excluded from actionable conduct that
the retaliation claim. This incident may still properly be             which is "the ordinary tribulations of the workplace, such
considered for the hostile work environment sexual                     as the sporadic use of abusive language, gender-related
harassment claim because it goes to the severity and                   jokes, [*57] and occasional teasing," because Title VII
physically threatening nature of the environment. Given                was not meant to be a "general civility code."151 "'[S]imple
that Giles was a part of the incident and it was                       teasing,' . . . offhand comments, and isolated incidents
immediately following work, this incident should not be                (unless extremely serious) will not amount to
disregarded as a matter of law as it was undoubtedly                   discriminatory changes in the 'terms and conditions of
relevant to the environment.                                           employment.'"152 On the other hand, conduct need not
                                                                       be so severe or pervasive that it seriously affects a
                                                                       plaintiff's psychological well-being.153 While the Court
d. Severe, Physically Threatening or Humiliating                       has already found there was sufficient evidence of the
Conduct                                                                severity or pervasiveness of the harassment in the Title
                                                                       IX context, the Court will expand on some of these
Plaintiff must show that the harassment was objectively
                                                                       findings and address a number of Defendant's arguments
and subjectively so severe or pervasive [*56] that it
                                                                       in the briefing.
altered a term, condition, or privilege of her
employment.146 Whether the harassment is objectively                   Defendant argues that there is evidence of only one
"severe or pervasive" is determined from the totality of               incident of physical contact between Giles and Plaintiff,
the circumstances after "considering such factors as 'the              the hair touching incident. Defendant argues the lack of
frequency of the discriminatory conduct; its severity;                 physical contact alone makes the conduct not severe
whether it is physically threatening or humiliating, or a              enough to be actionable. But the Tenth Circuit has held
mere offensive utterance; and whether it unreasonably                  the opposite.154 Defendant further argues that an


145 Doc.   127 at 25.                                                  150 Harris
                                                                                v. Forklift Sys., Inc., 510 U.S. 17, 21, 114 S. Ct. 367,
146 Morris                                                             126 L. Ed. 2d 295 (1993).
              v. City of Colo. Springs, 666 F.3d 654, 664 (10th Cir.
2012).                                                                 151 Faragherv. City of Boca Raton, 524 U.S. 775, 788, 118 S.
147 Chavez                                                             Ct. 2275, 141 L. Ed. 2d 662 (1998).
           v. New Mexico, 397 F.3d 826, 833 (10th Cir. 2005)
(quoting O'Shea v. Yellow Tech. Servs., Inc., 185 F.3d 1093,           152 Id.   (citation omitted).
1098 (10th Cir.1999)).
                                                                       153 Nieto  v. Kapoor, 268 F.3d 1208, 1219 (10th Cir. 2001)
148 Morris,
          666 F.3d at 664 (quoting Harsco Corp. v. Renner,             (citation omitted).
475 F.3d 1179, 1187 (10th Cir. 2007)).
                                                                       154 Smith v. Nw. Fin. Acceptance, Inc., 129 F.3d 1408, 1416-17
149 Id.
      (quoting Oncale v. Sundowner Offshore Servs., Inc., 523          (10th Cir. 1997) (stating that the plaintiff was "not required to
U.S. 75, 81, 118 S. Ct. 998, 140 L. Ed. 2d 201 (1998)).
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objective, reasonable person would not consider the                 environment which a reasonable person could view as
incidents of hair touching offensive, because it was done           humiliating and threatening. Collectively, the evidence of
in a non-sexual manner. But the context of the incident             the sexual physical touching, the sexually overt conduct
must be considered.155 While hair touching may be done              and comments, and the gender-neutral conduct and
in a non-sexual [*58] manner, here Plaintiff testified that         comments shows an objectively severe or pervasive
Giles had previously made sexual comments to her. In                hostile environment.
light of these circumstances, what otherwise might be a
non-sexual gesture, like hair touching, may become                  Defendant further contends Plaintiff did not subjectively
sexualized. Although there was contrary evidence that               experience a severe or pervasive environment because
the hair touching incident was consensual, the credibility          it was stipulated that Plaintiff continued receiving
of the witnesses was within the province of the jury, not           "satisfactory" work performance evaluations. While this is
the Court. Thus, in viewing the hair touching incident in           a factor to consider in the objective inquiry into the
the light most favorable to Plaintiff, there was credible           severity of the environment, this does not mean Plaintiff
evidence that the hair touching was non-consensual and              did not subjectively experience a severe or pervasive
sexual in nature in light of the context. Moreover, there           environment. [*60] It is undoubtedly possible for a
was other evidence of physical contact.156 Plaintiff                person to be depressed and scared at work while still
testified that Giles rubbed against her in the bathroom             working to maintain employment. As explained in the Title
stall.                                                              IX discussion above, there was evidence that Plaintiff had
                                                                    heightened anxiety, depression, sleeplessness, and
Even if there was no evidence of physical contact, there            weight loss during the harassment. Sandra Brown and
is ample evidence of comments and other conduct of an               Rick Fox corroborated the difference in Plaintiff's
overtly sexual nature.157 To the extent that Defendant              personality pre-harassment and post-harassment.
asks this Court to disregard these statements as                    Plaintiff testified that she often had to take breaks during
fabricated, untrue, or contradicted by other evidence, that         work and sit in her custodial closet to escape. Even that
is improper, as credibility determinations are the province         coping mechanism was impaired when Giles waited
of the jury. Moreover, beyond the overtly sexualized                uninvited for Plaintiff in Plaintiff's darkened custodial
conduct and comments, there was also evidence of                    closet. There is no requirement that Plaintiff seek
gender-neutral harassment.158 Contrary to Defendant's               treatment in order to show she subjectively experienced
baseless [*59] characterizations, there were a number of            the hostile environment. Her testimony along with the
incidents that could reasonably be viewed as threatening,           corroborating witnesses is more than sufficient evidence
including: Giles sitting in her car at the top of the Foxes'        of Plaintiff's subjective experience of a hostile
street after Giles followed them home from work, Giles              environment.
threatening to wipe her ass with Plaintiff during an
                                                                    Defendant, without citation, argues that Plaintiff has not
incident that almost turned into a physical altercation,
                                                                    met the frequency or specificity requirements for Title VII
Giles telling Plaintiff she smelled like a skunk, and Giles
                                                                    as to the allegations of harassment between the
calling Plaintiff a bitch. These are all events that show
                                                                    September 2013 meeting with Endicott and February 21,
both the hostility and threatening nature of the
                                                                    2014 when Endicott told Giles that Plaintiff was accusing

produce evidence of physical abuse or contact to establish a        consensual, intentional, physical contact of a sexual nature.
hostile work environment").
                                                                    157 See   supra Part II. B.1.c.ii; II.B.2.a (outlining Plaintiff's
155 Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 81-     testimony that Giles would wipe her crotch at the timeclock,
82, 118 S. Ct. 998, 140 L. Ed. 2d 201 (1998).                       Giles asked Plaintiff about her sexual performance with her
                                                                    husband, Giles asked Plaintiff whether she had been with a
156 Further,  to the extent that physical contact strengthens       woman, Giles stated she wanted to taste Plaintiff, Giles made a
Plaintiff's case, there was evidence of other physical contact      "hu-hu-hu" noise while stating she had practiced it all night for
between Giles and Plaintiff. Giles rubbed against Plaintiff in a    her, Giles stated she could make Plaintiff feel better than her
bathroom stall in McCray Hall. Defendant invites the Court to       husband, and Butler Brown wiped her crotch and told Plaintiff
find this as "manufactured" testimony, but it was for the jury to   to "picture this").
decide the credibility of Plaintiff's testimony. Viewing this
evidence in the light most favorable to Plaintiff, this was non-    158 See   supra Part II.B.2.b.
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her of sexual [*61] harassment. Once again, this
argument is contradicted by the record. Plaintiff testified          e. Actual or Constructive Notice and Inadequate
the conduct got worse during this period.159 Giles would             Response
"flip-off" Plaintiff and say curse words. She would wipe
her crotch, and she would make the "hu-hu-hu" noise.                 Finally, to succeed on her Title VII claim, Plaintiff must
Plaintiff testified Giles called her a bitch and said she            also show that PSU "had actual or constructive
smelled like a skunk. Butler Brown also harassed                     knowledge of the hostile work environment but did not
Plaintiff. Plaintiff testified this occurred two to three times      adequately respond to notice of the harassment."162
a week, which Sandra Brown corroborated. There was                   Actual knowledge will be demonstrable in most cases
sufficient evidence that the harassment was steady                   where the plaintiff has reported harassment to
throughout the period between September 2013 and May                 management-level          employees.163      Constructive
2014.                                                                knowledge       will  be    demonstrable     where      the
                                                                     pervasiveness of sexual harassment can properly lead to
Moreover, a reasonable jury could also find that Plaintiff           an inference of knowledge.164 To determine whether a
experienced both a subjectively and objectively severe or            response is adequate, an employer is not strictly liable for
pervasive hostile environment that altered the terms and             all harassment of which it had actual or constructive
conditions of her employment because Johnson,                        knowledge.165 Rather, it may discharge its obligation by
Defendant's Title IX coordinator, agreed as much. In an              taking appropriate remedial or preventative action
audio recording Plaintiff surreptitiously made during their          "reasonably calculated to end the harassment."166 If the
meeting, Johnson acknowledged that Plaintiff was being               harassment does not stop, the court may "consider the
sexually harassed and that there was a sexually hostile              timeliness of the plaintiff's complaint, whether
work environment.160 Although Defendant argues this                  the [*63] employer unduly delayed, and whether the
tape was improperly admitted and taken out of context,               response was proportional to the seriousness and
Johnson's deposition testimony and in-court testimony                frequency of the harassment."167 The Court has found
was consistent [*62] with Johnson's taperecorded                     sufficient evidence to meet the higher standard of actual
statements.161 Thus, viewing the evidence in the light               notice and deliberate indifference for purpose of Title
most favorable to Plaintiff, there was sufficient evidence           IX.168 Because this is a higher standard, the Court
of an objectively and subjectively hostile environment that          incorporates that discussion by reference and finds there
altered the terms and conditions of Plaintiff's                      is sufficient evidence of actual notice and an inadequate
employment.                                                          response for purposes of Title VII.169


159 Doc.    200 at 77:14.                                            167 Id.   at 676.
160 Pl's   Ex. 57.
                                                                     168 See
                                                                                supra Part II.B.1.d.
161 See,e.g., Doc. 201 at 48: 17 ("I agree that it was a hostile     169 Defendant    suggests that this Court has already found
environment."); Doc. 201 at 48:4-13 (stating in deposition that
                                                                     Defendant's response was reasonable because at summary
Fox was subjected to a sexually hostile work environment that
                                                                     judgment, this Court ruled Defendant did not condone or
was pervasive enough to change the nature of her work
                                                                     encourage Gile's behavior. This finding was made in relation to
environment).
                                                                     the retaliation claim, which has different standards. This Court
162 Adler                                                            has not ruled upon the sufficiency of Defendant's response for
            v. Wal-Mart Stores, Inc., 144 F.3d 664, 673 (10th Cir.
                                                                     purposes of actual or constructive notice and whether its
1998).
                                                                     response was reasonable. In fact, this was a genuine issue of
163 Id.                                                              material fact at summary judgment. Doc. 127 at 22-23
                                                                     ("Whether PSU's response to Plaintiff's report was adequate
164 Id.                                                              depends on when PSU had notice of her complaint. If Plaintiff
                                                                     complained to Malle repeatedly and reported sexual
165 Id.   at 676.                                                    harassment in September 2013, it would appear that PSU did
                                                                     not adequately investigate her complaint since it did not begin
166 Id.   at 675-76.                                                 an investigation until her February 2014 report. If, on the other
                                                                     hand, her first report of sexual harassment was on February 19,
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                                                                    irresistible inference that passion, prejudice, corruption or
III. Motion for New Trial or in the Alternative                     other improper cause invaded the trial. 177 Defendant
Remittur                                                            bears the heavy burden of demonstrating that the verdict
                                                                    was "clearly, decidedly, or overwhelmingly against the
                                                                    weight of the evidence."178
A. Standard for Motion for New Trial

Under Federal Rule of Civil Procedure 59(a), a court may            C. Discussion
grant a new trial on all or some of the issues on motion of
a party "after a jury trial, for any reason for which a new         Defendant's motion for new trial identifies a laundry list of
trial has heretofore been granted in an action at law in            alleged trial errors, as well as alleged errors in various
federal court."170 Motions for new trial are committed to           pretrial rulings. These errors fall into five categories: (1)
the sound discretion of the district court.171 Courts do not        double recovery, (2) excessive verdict/ remittitur, (3)
regard motions for new trial with favor and only grant              improperly admitted evidence leading to prejudice, (4)
them with great caution.172                                         admission of an audio recording, and (5) jury instructions.
                                                                    Each category of alleged error will be addressed in turn.
"If 'a new trial motion asserts that the jury verdict is not
supported by evidence, the verdict must stand unless it
clearly, decidedly, or overwhelmingly against the weight            1. Double Recovery
of the evidence.'"173 In reviewing a motion for new trial,
the Court views [*64] the evidence in the light most                The jury awarded Plaintiff $100,000 on the Title IX claim
favorable to the prevailing party.174 If a new trial motion         and [*65] $130,000 on the Title VII claim. Defendant
                                                                    contends that Plaintiff impermissibly double recovered for
is based on an error at trial, the court cannot grant the
                                                                    her Title IX and Title VII claim because both claims are
motion unless the error prejudiced the party's substantial
                                                                    based on the same operative facts. Defendant alleges
rights.175
                                                                    that Plaintiff is seeking redress for emotional distress
                                                                    from sexual harassment under Title VII and Title IX, so
                                                                    she may be remedied under only one statute.
B. Standard for Motion for Remittitur

The use of remitter is committed to the discretion of the           The issue of whether an award is duplicative is a question
trial court.176 Remittitur is warranted when an award of            of fact, which is reviewed for clear error.179 An error is
damages shocks the judicial conscience and raises an                clear only if the court's finding is without factual support
                                                                    in the record or if, after reviewing all the evidence, there

2014, it will be a question for a jury to determine whether the
                                                                    174 Griffin
investigation conducted by Johnson was adequate.").                               v. Strong, 983 F.2d 1540, 1543 (10th Cir. 1993).
Defendant's attempt to twist this Court's wording and findings is
                                                                    175 See
not well received. Thus, although Malle and Endicott may not                Henning v. Union Pac. R.R., 530 F.3d 1206, 1216-17
have condoned Giles's behavior, this does not mean the              (10th Cir. 2008) (citing Fed. R. Civ. P. 61).
response was reasonable in light of the allegations of sexual
                                                                    176 Blanke
harassment.                                                                       v. Alexander, 152 F.3d 1224, 1236 (10th Cir. 1998).

170 Fed.                                                            177 See
           R. Civ. P. 59(a)(1)(A).                                         Prager v. Campbell Cty. Mem'l Hosp., 731 F.3d 1046,
                                                                    1062 (10th Cir. 2013); Capstick v. Allstate Ins. Co., 998 F.2d
171 SeeUnit Drilling Co. v. Enron Oil & Gas Co., 108 F.3d 1186,     810, 820 (10th Cir. 1993).
1193 (10th Cir. 1997).
                                                                    178 Blanke,    152 F.3d at 1236 (citations and quotations omitted).
172 Franklin   v. Thompson, 981 F.2d 1168, 1171 (10th Cir.1992).
                                                                    179 J.M.v. Hilldale Indep. Sch. Dist. No. 1-29, 397 Fed. Appx.
173 M.D. Mark, Inc. v. Kerr-McGee Corp., 565 F.3d 753, 762-63       445, 460 (10th Cir. 2010) (citing N. Am. Speciality Ins. Co. v.
(10th Cir. 2009) (quoting Anaeme v. Diagnostek, Inc., 164 F.3d      Britt Paulk Ins. Agency, Inc., 579 F.3d 1106, 1113 (10th Cir.
1275, 1284 (10th Cir. 1999)).                                       2009)).
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is a firm and definite conviction that a mistake has been              overlap,186 there are some distinctions even in the
made.180 Double recovery "dictates that 'in the absence                elements of the claim. For instance, Title IX applies an
of punitive damages a plaintiff can recover no more than               actual notice and deliberate indifference standard
the loss actually suffered,'" and thus, when a plaintiff               where [*67] Title VII has an actual or constructive notice
seeks compensation for wrongs committed, the plaintiff                 and adequate remedial response.
should be made whole for the injuries, not enriched.181 If
two claims "arise from the same operative facts, and seek              The jury's award of a net total of $230,000 is consistent
identical relief, an award of damages under both theories              with the low end of the total request for recovery made by
will constitute double recovery."182 A jury, however, is not           Plaintiff's counsel during closing. He stated in his closing
prohibited from allocating a single damages award                      arguments, "I'm going to suggest a number to you that—
between two distinct theories of liability. [*66] 183                  I base it on cases we've had, similar ones, just a range
                                                                       and—of cases in this area of, you know, about $230,000
Because a reviewing court's role under the Seventh
                                                                       to $350,000."187 While it is possible that the jury
Amendment is "to reconcile and preserve whenever
possible" a jury verdict, the court must start with a                  impermissibly compensated Plaintiff twice for her
presumption that the damages awards were not                           emotional distress resulting from sexual harassment, it is
duplicative.184 Thus, the question here is whether                     equally rational to believe that the jury found that Plaintiff
                                                                       suffered $230,000 worth of injuries and allocated the
Plaintiff was unjustly enriched by being granted damages
                                                                       amount between the two distinct theories of liability, one
for sexual harassment under both Title IX and Title VII.
                                                                       for Title IX and one for Title VII.188 Defendant has not
Title IX and Title VII are two distinct theories of liability.         shown the Court that the evidence of double recovery is
Title VII and Title IX protect two different rights. As the            so in its favor that it was clear error.
Supreme Court explained in Gebser,

     Title VII applies to all employers without regard to              2. Excessive Verdict/ Remittitur
     federal funding and aims broadly to "eradicat[e]
     discrimination throughout the economy." Title VII,                Defendant requests remittitur or a new trial because the
     moreover, seeks to "make persons whole for injuries               damage award was excessive in light of the evidence of
     suffered through past discrimination." Thus, whereas              emotional distress damages. Defendant first argues that
     Title VII aims centrally to compensate victims of                 the evidence of emotional or mental distress Plaintiff
     discrimination, Title IX focuses more on "protecting"             presented is insufficient to justify [*68] the jury's damage
     individuals from discriminatory practices carried out             award. Defendant next argues that the verdict is
     by recipients of federal funds.185                                excessive because the alleged harassment, which
                                                                       included "almost no" allegations of physical harassment,
While many elements of Title VII and Title IX claims                   was not severe. The Court has already twice addressed
                                                                       and found that there was evidence of physical

                                                                       583, 592 (8th Cir. 2007) (citing Indu Craft, Inc., 47 F.3d at 497).
180 N.   Am. Specialty Ins. Co., 579 F.3d at 1113.
                                                                       185 Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 286,
181 Medina v. District of Columbia, 643 F.3d 323, 326, 395 U.S.        118 S. Ct. 1989, 141 L. Ed. 2d 277 (1998).
App. D.C. 409 (D.C. Cir. 2011) (quoting Kassman v. Am. Univ.,
                                                                       186 See
546 F.2d 1029, 1033, 178 U.S. App. D.C. 263 (D.C. Cir. 1976)                  Mabry v. St. Bd. of Comm.Colls. & Occupational Educ.,
(per curiam)).                                                         813 F.2d 311, 316 (10th Cir. 1987).
                                                                       187 Doc.
182 J.M.,                                                                         202 at 17:4-7
            397 Fed. Appx. at 460 (citation omitted).
                                                                       188 See
183 Ridgell-Boltz                                                              Indu Craft, Inc., 47 F.3d at 497 (allowing award of $2
                  v. Colvin, 565 F. App'x 680, 684 (10th Cir.
                                                                       million on breach of contract claim and $1.25 million on tort
2014); see also Teutscher v. Woodson, 835 F.3d 936, 954 (9th
                                                                       claim redressing the same wrongdoing because expert testified
Cir. 2016) (citing Medina, 643 F.3d at 326; Indu Craft, Inc. v.
                                                                       that net total of $3.25 million worth of damage).
Bank of Baroda, 47 F.3d 490, 497 (2d Cir. 1995)).

184 Matrix   Grp. Ltd. v. Rawlings Sporting Goods Co., 477 F.3d
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harassment, and even if there were no physical                        In Wulf, the Tenth Circuit held that an award of $250,000
harassment, the overtly sexual and non-sexual                         in damages for emotional distress was excessive and
harassment was severe and pervasive. 189 However, the                 remanded the case for reconsideration and an award of
Court will address whether emotional distress evidence                damages not to exceed $50,000.198 In that case, a
warrants the $230,000 damage award.                                   former police officer brought a civil rights action against
                                                                      the city and its administrators following his
Defendant argues this case is comparable to Hughes v.                 termination.199 The plaintiff in that case testified that, as
Regents of University of Colorado190 and Wulf v. City of              a result of defendant's behavior, his job was "very
Wichita.191 In Hughes, the plaintiff received a $125,000              stressful," and he was angry, depressed, scared, and
award in a Title VII sexual discrimination case where the             frustrated.200 Wulf's wife testified that he was under
plaintiff was "bumped" to a different position with less              "tremendous emotional strain" and that they experienced
responsibility yet equal pay, hours and benefits based on             significant financial difficulties.201 Recognizing the lack of
her gender.192 The verdict reflected damages for                      descriptive evidence of emotional distress, the Tenth
emotional distress, pain, suffering, and mental                       Circuit held that, although some award was warranted for
anguish.193 There was no evidence concerning                          emotional damages, $250,000 was clearly excessive. 202
economic loss.194 The emotional distress evidence was                 The Wulf court looked to other awards given in
based solely on plaintiff's own testimony.195 The plaintiff           connection with alleged emotional damages and held that
testified that she never sought treatment for emotional or            $50,000 was the maximum reasonable award in that
physical problems.196 The judge found that [*69] this                 case.203
verdict was excessive and remitted the verdict to $50,000
because her "bumped" position was nearly equivalent to                The [*70] Court finds this case distinguishable from
the old position and she suffered distress equivalent to              Hughes and Wulf, which are both more than twenty-year-
that of losing any job.197                                            old cases.204 Both parties seem to agree that Plaintiff's


189 See                                                               198 883
           supra Part II.B.1.c. (discussing severity or                         F.2d 842, 875 (10th Cir. 1989).
pervasiveness of hostile environment in Title IX context),
                                                                      199 Id.
II.B.2.d. (discussing severe, physically threatening, humiliating
nature of conduct in Title VII context); see also Smith v. Nw. Fin.
                                                                      200 Id.
Acceptance, Inc., 129 F.3d 1408, 1416-17 (10th Cir. 1997)
(stating that the plaintiff was "not required to produce evidence     201 Id.
of physical abuse or contact to establish a hostile work
environment"). The Court declines to reconsider its severity or       202 Id.
pervasiveness analysis by applying the factors enumerated in
Blangsted v. Snowmass-Wildcat Fire Protection District, 642 F.        203 See   id.
Supp. 2d 1250, 1257 (D. Colo. 2009), as Defendant requests.
                                                                      204 Defendant
This does not comport with Tenth Circuit precedent.                                   also cited a number of "more recent" cases for the
                                                                      proposition that remittitur is warranted. However, the Court finds
190 967    F. Supp. 431 (D. Colo. 1996).                              these cases distinguishable. Cline v. Walmart Stores, Inc., 144
                                                                      F.3d 294 (4th Cir. 1998) (remitting a jury award in a demotion
191 883    F.2d 842 (10th Cir. 1989).                                 case to $10,000 from $117,500 where there was no evidence
                                                                      of physical symptoms, no evidence of medication, no evidence
192 967    F. Supp. at 433, 438.                                      of an inability to cope at work, and only suggestions of
                                                                      emotional trauma); MacMillan v. Millenium Broadway Hotel, 873
193 Id.   at 437.                                                     F. Supp. 2d 546, 563 (S.D.N.Y. 2012) (remitting a jury award in
                                                                      a racial hostile work environment case from $125,000 in
194 Id.
                                                                      emotional distress damages to $30,000 where no evidence of
                                                                      medical treatment, physical manifestations, or impact on his
195 Id.
                                                                      work ability, and the only emotional distress testimony was that
196 Id.                                                               the plaintiff felt "horrible"); Dotson v. City of Syracuse, No. 04-
                                                                      CV-1388, 2011 U.S. Dist. LEXIS 20374, 2011 WL 817499, at
197 Id.                                                               *22 (N.D.N.Y. Mar. 2, 2011) (remitting a jury award in a
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$230,000 award necessarily reflects damages for                         the plaintiffs in Wulf and Hughes faced one-time events,
emotional distress, pain, suffering, and mental anguish.                Plaintiff faced intentional hostile work environment sexual
There was no evidence concerning diminution in salary,                  harassment for nearly two years. Her job prior to the
decreased benefits, or other similar economic loss.                     sexual harassment was nothing like the job during the
Plaintiff testified in detail to increased use of anxiety               sexual harassment. She faced physical sexual
medication and severe physical manifestations of her                    harassment, overt sexual comments and conduct, and
emotional distress, including weight loss, sleeplessness,               threats sometimes multiple times a week, changing the
and depression. Although Plaintiff's work performance                   terms and conditions of her employment over the course
did not suffer, Plaintiff testified she was scared to go to             of two years. Plaintiff attempted to address this with her
work, and she often took breaks to be alone in her                      managers who either did nothing, asked her to clock in at
custodial closet. Giles was apparently aware of this, for               a different time than her harasser, or in the case of
when Plaintiff unwittingly entered her darkened custodial               Johnson, punished her as well [*72] as her harasser.
closet, Giles was waiting there, to sexually harass her.                This is an entirely different set of circumstances than
Plaintiff was not the only person testifying to her                     Hughes and Wulf, which warrants a much larger award.
emotional distress. Rick Fox, who both worked at PSU
and lived with her, corroborated her testimony.205 Rick                 The Court finds the more recent case of McInerney v.
Fox testified Plaintiff's children and grandchildren noticed            United Airlines207 instructive. In McInerney, the jury
her behavior change, and that his and Plaintiff's children              awarded in a Title VII retaliation case compensatory
refused to bring their grandchildren over for fear [*71] of             damages in the amount of $3 million, which were remitted
Giles's threats to Plaintiff. Her emotional distress was                by the Tenth Circuit to the statutory cap of $300,000. 208
further corroborated by Brown, who testified that she                   The Tenth Circuit moved away from its approach in Wulf
went from happy to unhappy during the period of                         of comparing awards in other cases, and rather, it
harassment. Plaintiff admitted she did not seek                         cautioned that courts should look to the propriety of the
counseling or medical treatment, but she did increase her               emotional distress award.209 The plaintiff testified that
dosage of Xanax.206                                                     she was devastated and humiliated by her termination,
                                                                        and she had lost confidence in herself after losing her
Plaintiff also faced a different form of discrimination than            eleven-year career with United.210 Although the plaintiff's
the plaintiff in Hughes, who was "bumped" to a different                testimony about her suffering was not "exceedingly
job, and in Wulf, who was fired in retaliation for writing a            graphic or detailed," the court held it formed a sufficient
letter to have the police department investigated. While


retaliation case from $450,000 to $50,000 where there was not           medical testimony. However, this is not required, and the jury
substantial corroborating testimony and the plaintiff suffered a        instruction says as much. Jury Instruction No. 13 ("Evidence of
one-time occurrence that was not ongoing or continuous); Vera           mental anguish need not be corroborated by doctors,
v. Alstom Power, Inc., 189 F. Supp. 3d 360, 2016 WL 3014614,            psychologists . . . .").
at *11 (D. Conn. 2016) (remitting a jury award in retaliation case
                                                                        207 463    F. App'x 709 (10th Cir. 2011).
from $500,000 to $125,000 where the plaintiff was the only
witness to testify about emotional distress, general and
                                                                        208 Id.
conclusory terms described the distress, and she offered no                       at 723.
proof physical manifestations); McInnis v. Town of Weston, 458
                                                                        209 Id.
F. Supp. 2d 7, 19 (D. Conn. 2006) (remitting a jury award in                   (citing Smith v. Nw. Fin. Acceptance, Inc., 129 F.3d 1408,
retaliation case of $860,000 to $150,000 where the plaintiffs           1416-17 (10th Cir. 1997) (considering the nature of the remarks
never testified to any physical manifestations and there was no         made to the plaintiff, the nature of the harm suffered by the
corroborating testimony).                                               plaintiff, and the context of the discriminatory behavior); Malloy
                                                                        v. Monahan, 73 F.3d 1012, 1017 (10th Cir. 1996) (determining
205 Defendant   extensively argues Rick Fox was not credible            that "the award was adequately grounded in the evidence");
because he stood to gain financially from the trial. The Court          Fitzgerald v. Mountain States Tel. & Tel. Co., 68 F.3d 1257,
does not consider such an argument as it is an improper                 1261, 1265-66 (10th Cir. 1995) (determining that damages
credibility determination at the post-trial stage. Griffin v. Strong,   awards were excessive based on a review of the record)).
983 F.2d 1540, 1543 (10th Cir. 1993).
                                                                        210 Id.
206 Defendant   argues that Plaintiff did not have corroborating
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basis for the damages award.211                                    alleged errors prejudice Defendant's rights.213

Using the Tenth Circuit's guidance in McInerney, the               First, Defendant alleges that Plaintiff improperly vilified
Court is not persuaded by Defendant's citations to                 Defendant by referring to it as "the State" in Plaintiff's
awards in other cases. Rather, as the Tenth Circuit has            opening statement214 and closing argument.215
cautioned, the focus should be on whether the                      Defendant argues that these references were meant to
compensatory damage was excessive in relation to                   invoke prejudice of jurors who have a bias against the
Plaintiff's injury. [*73] As the Court has explained above         State. Defendant merely speculates that any juror had a
multiple times in detail, there is more than sufficient            bias against the State, and the Court is unwilling to
evidence of severe emotional distress with physical                engage in such speculation.216 Defendant ignores the
manifestations. Thus, viewing the $230,000 award in                fact that the Court instructed the jury to not be influenced
relation to Plaintiff's injury, the award was not                  by bias, sympathy or prejudice.217 Defendant is
excessive.212                                                      undeniably an entity of the State. Indeed, Defendant
                                                                   Pittsburgh State University stipulated in the Pretrial Order
                                                                   that it is "a state educational institution under Kansas
3. Improper or Prejudicial Evidence or Arguments                   law."218 Defendant was represented by the Attorney
                                                                   General's office for the State of Kansas. The verdict
Defendant seeks a new trial on the basis of evidence and
                                                                   will [*75] be paid from the State of Kansas's Kansas Tort
argument that it contends were improper and prejudicial.
                                                                   Claims Fund. Moreover, Defendant relied on its status as
Specifically, Defendant alleges nine errors in the
                                                                   a state entity in asserting sovereign immunity in its motion
admission of evidence or the allowance of certain
                                                                   for judgment, and in arguing that it should not have to
statements by Plaintiff's counsel: (1) Plaintiff referring to
                                                                   post supersedeas bond.219
Defendant as "the State," (2) Plaintiff referring to the
Constitution and the Bible, (3) Plaintiff suggesting an            Second, Defendant alleges that Plaintiff improperly
amount to compensate, (4) the manner in which Plaintiff            attempted to garner sympathy with references to the
attacked the credibility of certain witnesses, (5) Plaintiff       Constitution and the Bible as well as references to her
advising the jury that Title VII and Title IX liability were the   being a custodian. Defendant fails to explain how any
same, (6) the Court's admission of evidence that related           such references would garner sympathy, and the Court
only to the previously dismissed retaliation claim, (7) the        finds that such references were proper in the context of
Court not admitting evidence of Rick Fox's statement that          this case. While the Court ruled in its limine order that
the lawsuit was his "pay day," (8) the Court's admission           Plaintiff's Exhibit 22,220 a passage from the Bible, was
of testimony relating to Giles rubbing against Plaintiff in a      inadmissible, it was proper for Plaintiff to explain a
bathroom, and (9) the Court's [*74] admission of                   statement she made during her September 2013 meeting
evidence relating to Plaintiff's prescriptions. Some of            with Johnson. In that meeting, Plaintiff told Johnson that
these so-called errors were not properly preserved for             Giles was lusting after her and that was wrong. Johnson
review, as Defendant failed to cite to the record                  testified that she considered Plaintiff's statement
supporting its statements and argument about them. But,            homophobic; Plaintiff testified that it was a statement of
for those alleged errors that are properly preserved for           her biblically-based belief that lusting after another
review, neither individually nor cumulatively did the              person was wrong. To the extent that was a reference to


                                                                   216 Defendant
211 Id.                                                                         also speculates that this jury was biased by news
          at 723-24.
                                                                   of a video that surfaced during this trial of then-presidential
212 See                                                            candidate Donald J. Trump making lewd sexual comments
       also Smith, 129 F.3d at 1416-17 (upholding a $200,000
                                                                   about women.
award in a sexual harassment case).
                                                                   217 Jury   Instruction No. 13.
213 See Henning v. Union Pac. R.R., 530 F.3d 1206, 1216-17         218 Doc.   81 at 2.
(10th Cir. 2008) (citing Fed. R. Civ. P. 61).
                                                                   219 See
214 Doc.    200 at 10:23-11:1, 12:2-9.                                        Doc. 249.
                                                                   220 Doc.
215 Doc.    202 at 14:22-15:2; 17:23-18:1.                                    215 at 15.
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the Bible, it was proper, and was not offered to garner             and low wage earners."222 Plaintiff's counsel suggested
sympathy, but was [*76] offered to rebut Johnson's                  that the emotional well-being of an executive who is
testimony about Plaintiff's state of mind. Further, although        harassed is no more valuable [*77] than the emotional
Plaintiff referenced the Constitution in opening and                well-being of a custodian. The Court does not find that
closing, these were general references to the Fourteenth            Plaintiff's counsel suggested that she should be
Amendment and to rights and protections granted by the              compensated based on lost compensation.223 Plaintiff's
Constitution, not appeals to award high damages, as                 counsel further suggested, "based it on cases we've had,
Defendant claims.221 Nor was it improper for Plaintiff to           similar ones,"224 a range of damages, "from about
be referred to as a custodian. This is an employment case           230,000 to $350,000,"225 while acknowledging that the
in which Plaintiff's job duties, and the terms and                  jury may think that range too high or too low. This was not
conditions of her employment were germane. In short,                "extraneous matter" that warrants reversible error. 226
none of these complained-of comments, singularly or                 The jury was instructed extensively to compensate based
cumulatively amounted to error affecting Defendant's                on the competent evidence of "the nature, extent, and
rights.                                                             duration of the harm."227
Third, Defendant alleges that in her closing argument,              Further, as itemized above, Defendant raised six other
Plaintiff improperly suggested to the jury that it should           challenges to evidence or comments of Plaintiff's counsel
compensate her based on replacing wages, or based on                pertaining to: impeachment of certain witnesses,228
other cases. On the contrary, Plaintiff argued that the jury        admission of events that Defendant claims related only to
should not base compensation on her wages. In fact,
                                                                    the previously dismissed retaliation claim,229 excluding
Plaintiff argued that basing an award for sexual
                                                                    admission of Rick Fox's statement that the lawsuit was
harassment on the plaintiff's wages "creates sort of a two-
                                                                    his "pay day,"230 admission of testimony about Giles
tiered system of justice, for people, high wage earners
                                                                    rubbing against Plaintiff in a bathroom stall,231 and

                                                                    no knowledge or awareness of sexual harassment. It was
221 See,
       e.g., Doc. 200 at 3:3:13-15 (quoting verbatim the            proper to impeach Giles testimony that minimized her role in
Fourteenth Amendment).                                              engaging in threatening or hostile behavior towards Plaintiff and
222 Doc.   202 at 16: 3-14, 20-25; 17: 1-10.                        Rick Fox, with an allegation that she angrily kicked a trashcan
                                                                    in a courtroom.
223 The Court finds Defendant's citation to McInnis v. Town of      229 Asthe Court explained at length in an earlier section of this
Weston 458 F. Supp. 2d 7, 19 (D. Conn. 2006) unpersuasive.
                                                                    order, see supra Part II.B.2.a, given the significant evidentiary
There the court held a jury award of $860,000 excessive given
                                                                    overlap of the Title VII retaliation claim and the Title VII hostile
the plaintiff's counsel suggestion of a retirement income
                                                                    work environment claim, the evidence Defendant complains
projection of $960,000 for only emotional distress evidence. But
                                                                    about was relevant to both the dismissed Title VII retaliation
here, Plaintiff's counsel suggested a range that was not based
                                                                    claim and the surviving Title VII claim.
on salary, wage, or retirement losses.
224 Doc.                                                            230 In
           202 at 16: 3-14, 20-25; 17: 1-10.                                its limine order, the Court reserved ruling on this
                                                                    admission of this evidence, advising the parties to take up the
225 Id.
                                                                    issue with the Court during trial, when the Court would have
                                                                    context in which to weigh the probative value of the evidence
226 Lambertv. Midwest City Memorial Hosp. Auth., 671 F.2d           with its prejudicial effect, as Rule 403(b) requires. At trial, the
372, 375-76 (10th Cir. 1982).                                       Court conducted the Rule 403(b) balancing and found the
                                                                    evidence more prejudicial than probative. Because Defendant
227 See   Jury Instruction No. 13.                                  failed to cite to the transcript on this point, it is unclear whether
228 Defendantfails to cite to the record and fails to demonstrate   Defendant raised a contemporaneous objection to preserve this
how the complained-of impeachment was improper. It was              evidentiary ruling for appeal.
proper to question whether PSU attempted to influence Sherry        231 Defendant complains that Plaintiff never mentioned this
Vineyard's testimony by granting her a shift change. It was         incident to Johnson, nor in her EEOC complaint, nor in her
proper to examine Giles and McGowan about an allegation that        Complaint in this case, but raised it for the first time in her
they gave a "penis cup" to their own employee (of a cleaning        deposition. Needless to say, it would have been proper for
business they owned), to impeach their testimony that they had
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admission of evidence relating to Plaintiff's prescription         inflection, tone or volume. And the Court clearly recalls
medication. Defendant fails to cite to the transcript or           that while Plaintiff's counsel raised his voice with
record with respect to these six alleged errors.                   emphasis, he did not yell at McGowan.

When a party makes [*78] "mere conclusory allegations              Another example of Defendant misstating the record is in
with no citations to the record or any legal authority for         its argument that the Court erred in excluding evidence
support' [this is] . . . inadequate to preserve an issue for       relating to Plaintiff's prescription medication. The Court
review."232 It is also inadequate to preserve an issue for         did not exclude all evidence concerning the prescription
purposes of a motion for judgment or new trial filed with          medication. Both Plaintiff and Defendant were allowed to
a trial court. This court's local rules require that all briefs    inquire into Plaintiff's testimony that she had taken Xanax
and memoranda filed with the court contain "a concise              for anxiety before but began taking a higher dosage for
statements of the facts, with each statement of fact               worsening         anxiety      after     the     harassment
supported by reference to the record;" and "the                    began. [*80] The only evidence the Court excluded was
argument, which must refer to all statutes, rules, and             the prescription medication records and references to the
authorities relied upon."233 The trial court is no more            prescription medication records. The Court excluded this
equipped to comb through a voluminous trial record than            evidence upon Defendant's limine motion to exclude the
the appellate court is equipped to comb through that               prescription records.236 Despite obtaining this favorable
same voluminous trial record to find testimony or                  ruling pre-trial, Defendant attempted to question Plaintiff
evidentiary rulings the movant or appellant challenges.            about the very prescription records that the Court had
As the Tenth Circuit put it, "the district courts [ ] have a       excluded. This was in effect, Defendant's attempt to use
limited and neutral role in the adversarial process, and           a favorable limine ruling as a sword against Plaintiff. It
are wary of becoming advocates who comb the record of              was prejudicial to obtain a ruling that prevented Plaintiff
previously available evidence and make a party's case              from offering or testifying about her prescription records,
for it."234 Thus, where a party does not cite to the record,       and then cross examine Plaintiff about those records.
the Court is under no obligation to do so.235                      This tactic suggested that Plaintiff was hiding her
                                                                   prescription records, when in fact it was Defendant that
This Court declines to comb through [*79] the record to            had gained their exclusion from the trial evidence. For
find the testimony and/or evidentiary rulings that                 that reason, the Court sustained Plaintiff's objection to
Defendant challenges. Nonetheless, the Court cannot                Defendant's line of questioning about the prescription
ignore that some of Defendant's challenges                         records.
mischaracterize the Court's limine and/or evidentiary
rulings, and misstate what the Court ruled upon at trial.          And still another example of Defendant misstating the
For example, Defendant claims that while examining                 record is in its argument that Plaintiff misled the jury in
Kristi McGowan about her yelling at Rick Fox, "I'm going           closing arguments in stating "Title IX is a little different
to fucking kill you," Plaintiff's counsel himself yelled these     than Title VII."237 But Defendant cites this statement out
words to McGowan. Of course, had Defendant cited to                of context, [*81] for Plaintiff actually differentiated Title
the transcript of that testimony, this challenge would be          VII and Title IX claims, explaining at length the distinction
preserved for review. But a transcript cannot capture              between deliberate indifference and actual knowledge for


Defendant to impeach Plaintiff with the lateness of this
                                                                   234 Adler
revelation, so the jury could determine Plaintiff's credibility.               v. Wal-Mart Stores, Inc., 144 F.3d 664, 672 (10th Cir.
Because Defendant failed to cite to the record, the Court does     1998).
not know whether Defendant impeached Plaintiff, but nothing
                                                                   235 See
precluded Defendant from impeaching Plaintiff with this. In any           RMD, LLC v. Nitto Americas, Inc., No. 09-2056-JAR,
event, this is not a ground for new trial.                         2012 U.S. Dist. LEXIS 41315, 2012 WL 1033542, at *8 (D. Kan.
                                                                   Mar. 27, 2012) ("The court will not sift through the record in an
232 Krumm  v. Holder, 594 F. App'x 497, 501 (10th Cir. 2014)       attempt to locate or articulate arguments for [the party's]
(quoting Garrett v. Selby Connor Maddux & Janer, 425 F.3d          counsel.").
836, 841 (10th Cir. 2005)).                                        236 Doc.    150.
233 D.Kan.Local                                                    237 Doc.
                  Rule 7.6(a)(2).                                              202 at 5:7 (emphasis added).
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purposes of Title IX.238 Plaintiff also explained the               as a party admission by Johnson, who during the meeting
different purposes underlying Title VII and Title IX. This          admitted that Plaintiff had been subjected to conduct so
was neither improper, nor prejudicial.                              pervasive that it changed the nature of her work
                                                                    environment and made Plaintiff uncomfortable to come to
In short, to the extent Defendant cited to the record and           work.241 These were statements by Johnson, not by
preserved an objection, its points of error are without             Plaintiff. A party admission is itself impeachment
merit. And, with respect to those points that Defendant             evidence, and thus was properly admitted, and was
failed to preserve by citing to the record, to the extent the       properly published to the jury during the testimony of
Court could reference the record without an arduous                 Johnson and during the testimony of Plaintiff.
search, those alleged points of error are also without
merit.                                                              Moreover, Defendant misstates the record when it argues
                                                                    that the Court precluded it from playing [*83] the audio
                                                                    recording during cross examination. Defendant cagily
4. Admission of Audio Recording                                     fails to explain that during Johnson's testimony in
                                                                    Plaintiff's case-in-chief, Defendant sought to play the
Defendant argues that this Court improperly allowed                 entire recording, not the portion that Plaintiff had already
Plaintiff, during the direct examination of Plaintiff, to play      played. And Defendant fails to explain that while Plaintiff
an audio recording of a meeting between Johnson and                 had designated that portion of the recording as evidence,
Plaintiff. This, Defendant argues was beyond the scope              Defendant had failed to counter-designate the entire
of the Court's limine ruling, which allowed the recording           recording as evidence. Because Defendant had failed to
to be admitted only for impeachment purposes.                       follow the Court's order to designate what portion(s) it
Defendant further argues that the Court did not allow               would seek to admit at trial,242 the Court fashioned a
Defendant to play the recording during Defendant's                  remedy, in the midst of trial, to address Defendant's
cross-examination of Plaintiff. Like many of the alleged            failure. Because Defendant intended to call Johnson in its
points of error addressed [*82] above, Defendant                    own case-in-chief, the Court directed Defendant to wait
misstates the record.                                               and play the entire recording during Johnson's testimony
                                                                    in its case. This would allow Plaintiff time to review the
During Plaintiff's case-in-chief, the Court admitted a
                                                                    entire recording, something that would have been
portion of the audio recording of the March 7 meeting
                                                                    accomplished pretrial, had Defendant followed the rules
between Plaintiff and Johnson. This portion of the audio
                                                                    on designating exhibits.243 The Court combed through a
recording was played during the direct examination of
                                                                    rough transcript of Johnson's testimony in Defendant's
Johnson, to impeach her testimony denying that she had
admitted that Plaintiff had been subjected to sexual                case in chief,244 and the Court could not find where
harassment.239 This portion of the audio recording was              Defendant sought to admit the audio clip and was not
                                                                    allowed to do so. There was no error [*84] and
also played during the direct examination of Plaintiff.240
                                                                    Defendant suffered no prejudice.
Defendant's argument that playing the recording during
Plaintiff's testimony constituted improper bolstering is
without merit. The tape recording was properly admitted

238 Doc.                                                            242 Doc.
           202 at 5:18-21.                                                     201 at 65-70.
239 Doc.                                                            243 There
           201 at 47:14-19.                                                    is a dispute whether Plaintiff's counsel received the
240 Defendant
                                                                    designations the night before Johnson's testimony or during
               did not attempt to cross-examine Plaintiff with
                                                                    Johnson's testimony. Regardless, this was inadequate time to
such recording, and the Court did not forbid Defendant from
                                                                    review the designation, so it was proper for the Court to give
doing so. Defendant's counsel did question Plaintiff about
                                                                    Plaintiff additional time for review. This is especially so in light
whether she told Johnson she was being recorded during the
                                                                    of Johnson testifying in Defendant's case-in-chief, so it was not
meeting, and Plaintiff alleged she had an "under surveillance"
                                                                    prejudicial.
sticker on her shirt. However, Defendant's counsel did not seek
                                                                    244 Defendant
to admit other parts of the audio recording nor place in context,                did not order trial transcript for its own witnesses.
any statements recorded in the audio clip played by Plaintiff.      The Court was forced to rely on a rough transcript of Johnson's
241 Doc.                                                            direct examination in Defendant's case in chief.
           200 at 90:1-21 (referring to Pl's Ex. 57bb).
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5. Jury Instructions                                                  injury.
                                                                      This is true even if the person's condition or disability
Defendant's final argument relates to Jury Instruction No.            made her more susceptible to the possibility of ill
14, Jury Instruction No. 9, and the Title IX Jury                     effects than a normally healthy person would have
Instructions. This Court has already ruled above that Title           been, and even if a normally healthy person probably
IX was properly applied in this case, so it overrules                 would not have suffered any substantial injury.
Defendant's objections to the Title IX instructions.
However, the Court will address Jury Instruction No. 14              When preexisting condition or disability is so
and Jury Instruction No. 9 in turn. Jury instruction No. 14          aggravated, the damages as to such condition or
(the "Eggshell Skull Instruction") read:                             disability [*86] are limited to the additional injury
     If you find in favor of Plaintiff on either one of her          caused by the aggravation.246
     claims of sexual harassment,                               The Tenth Circuit found the district court did not err in
     Defendant is responsible for any and all damages           giving such an instruction because "[i]t ensured that the
     resulting from that sexual harassment. This is             jury would award only that sum arising from [the
     regardless of whether Plaintiff suffered from a            defendant's] aggravation of whatever preexisting
     preexisting psychological condition that made the          condition or disability may have plagued [the plaintiff], not
     consequences of the sexual harassment more                 the sum that would compensate her for her total
     severe for Plaintiff than they would have been for a       disability.247
     person without the same condition.
     In determining whether Defendant caused Plaintiff's        The Court finds Wren instructive. Wren instructs that the
     claimed distress, you are allowed to consider              consideration of pre-existing conditions in awarding
     evidence of other probable causes of such distress.        damages is applicable beyond tort and personal injury;
                                                                and pre-existing conditions may also be mental, not just
Defendant argues that the Eggshell Skull Instruction is         physical. Moreover, consideration of pre-existing
only properly applied to tort cases alleging physical injury,   conditions does not create an "implied" tort remedy or
not mental distress. Defendant further [*85] argues that        cause of action. Rather, it is a limitation on damages. 248
this instruction is properly given only in tort cases and by    For that reason, sovereign immunity is not implicated.
giving it in this case, the Court created an "implied" tort     The Court concludes, based on Wren, that the Eggshell
remedy outside of any waiver of sovereign immunity.             Skull Instruction was properly given in this case.

The parties do not cite, nor has the Court found, Tenth         Further, at least one circuit has considered the propriety
Circuit case law considering an "eggshell skull" jury           of an "eggshell skull" instruction in a Title VII employment
instruction in a Title VII or Title IX case. In Wren v.         case. In Jenson v. Eveleth Taconite Co., a Title VII sexual
Spurlock, the Tenth Circuit considered a similar jury           harassment and a Minnesota Human Rights Act case,249
instruction on the effect of pre-existing conditions in a §     the Eighth Circuit explained [*87] that the "eggshell
1983 case claiming plaintiff's employer retaliated against      skull" principle was properly applied because
her for the exercise of her First Amendment rights.245          "foreseeability does not limit an award of money
That instruction read:                                          damages," including "damages assessed against a
     A person who has a condition or disability at the time     tortfeasor for harm caused to a plaintiff who happens to
     of an injury is not entitled to recover damages            have a fragile psyche."250
     therefor. However, she is entitled to recover
     damages for any aggravation of such preexisting            Defendant cites a number of cases for the proposition
     condition or disability proximately resulting from the     that a reasonable person standard is applied to ensure



                                                                248 Id.
245 798    F.2d 1313, 1321 (10th Cir. 1986).                           (considering the pre-existing conditions instruction as
                                                                "tend[ing] to limit the amount of recoverable damages.").
246 Id.

                                                                249 130   F.3d 1287, 1295 (8th Cir. 1997).
247 Id.   at 1322
                                                                250 Id.
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that employers are not liable for overly sensitive                  Plaintiff's pre-existing condition, which may have made
employees. But, Defendant conflates the substantive                 her more susceptible to damages, when determining the
elements of a sexual harassment claim arising under Title           proper amount of compensatory damages. Further, as
IX and Title VII with the "eggshell skull" concept for              Jury Instruction No. 13 [*89] properly explains, the
determining compensatory damages. While there is both               proper amount is not the total disability suffered, but only
an objective and subjective element for considering                 those Defendant caused.
whether a work environment was hostile under Title
VII,251 that concerns the determination of liability, not the       Defendant next argues that even if the Eggshell Skull
determination of whether compensatory damages that                  Instruction is properly given for these types of claims, the
should be awarded.                                                  evidence in this trial did not support the giving of this
                                                                    instruction. The Court disagrees. Plaintiff testified that
Defendant also argues that the Eggshell Skull Instruction           she had pre-existing anxiety following the death of her
is confusing and misleading in that it contradicts Jury             mother. She testified at length about her anxiety prior to
Instruction No. 13 and No. 11. Defendant argues that the            the harassment. She also testified that she was taking
Eggshell Skull Instruction conflicts with the language in           Xanax for anxiety and that she increased her dosage
Jury Instruction No. 13, that "[y]ou may award                      when her anxiety worsened during the period of
compensatory damages only for injuries that Fox proves              harassment. There was no medical testimony to confirm
were caused [*88] by Defendant's allegedly wrongful                 her diagnosis, nor prescription records, which were
conduct." Defendant also argues that the Eggshell Skull             excluded on Defendant's limine motion. But, Plaintiff
Instruction conflicts with the language in Jury Instruction         provided competent and credible evidence of her
No. 11, that "[y]ou must look at the evidence from the              condition. The evidence at trial warranted an instruction
perspective of a reasonable person's reaction to a similar          on her pre-existing condition.
environment under similar circumstances. You cannot
view the evidence from the perspective of an overly                 Defendant also claims error in Jury Instruction No. 9,
sensitive person . . . the alleged harassing behavior must          which defined "harassment." Defendant argues it
be such that a reasonable person in the same or similar             improperly instructed on overtly gender related
circumstances as Fox would find the conduct offensive."             conduct.252 The instruction states in relevant part: "But
                                                                    discriminatory intimidation, ridicule, unwelcome sexual
But Defendant's arguments are without merit. As to Jury             advances, requests for sexual favors, [*90] or other
Instruction No. 11, Defendant conflates the substantive             verbal or physical conduct that is overtly or not overtly
elements of Title VII and Title IX liability and the                based on Plaintiff's sex, may be sufficiently extreme to
assessment of the proper amount of damages as                       alter the terms and conditions of employment."253 As the
explained above. And, as to Jury Instruction No. 13, the            Court explained at length above,254 facially gender-
statement that compensatory damages may only be                     neutral abusive conduct can support a gender-based
awarded for damages Defendant caused is not in conflict             hostile work environment claim when "viewed in the
with the "eggshell skull" concept. In fact, the Eggshell            context of other, overtly gender-discriminatory
Skull Instruction requires that the jury account for                conduct."255 There was evidence presented of both



                                                                    254 See
251 See, e.g., Hernandez v. Valley View Hosp. Ass'n, 684 F.3d              supra Part II.B.2.b. (explaining that the jury may properly
950, 957 (10th Cir. 2012) ("A dual standard asks both whether       consider both overtly and not overtly gender related conduct).
the plaintiff was offended by the work environment and whether
                                                                    255 O'Shea
a reasonable person would likewise be offended.").                              v. Yellow Tech. Servs., Inc., 185 F.3d 1093, 1097
                                                                    (10th Cir.1999); see also Chavez v. New Mexico, 397 F.3d 826,
252 The  Court rejects Defendant's argument that this additional    833 (10th Cir. 2005) ("The question then becomes whether
language was added after the deadline for submission of jury        Plaintiffs can use a substantial amount of arguably gender-
instructions. The Court in the Pretrial Order merely requested      neutral harassment to bolster a smaller amount of gender-
"proposed" instructions, and these were subject to change           based conduct on summary judgment. Our precedents say that
during both the informal and formal jury instruction conferences.   they can.").
Doc. 132 at 5.
253 Jury   Instruction No. 9 (emphasis added).
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overtly and not overtly gender-related conduct. Thus, the
jury was properly instructed it could consider both.

IT IS THEREFORE ORDERED BY THE COURT that
Defendant's Motion for Renewed Judgment as a Matter
of Law as to the Title IX Claim (Doc. 207) is denied.

IT IS THEREFORE FURTHER ORDERED BY THE
COURT that Defendant's Motion for Renewed Judgment
as a Matter of Law as to the Title VII Claim (Doc. 209) is
denied.

IT IS THEREFORE FURTHER ORDERED BY THE
COURT that Defendant's Motion for New Trial or in the
Alternative For Remittitur (Doc. 214) is denied.

IT IS SO ORDERED.

Dated: June 26, 2017

/s/ Julie A. Robinson

JULIE A. ROBINSON

UNITED STATES DISTRICT JUDGE


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